Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 1 of 88




                     EXHIBIT 3
                                            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 2 of 88
New Entrant Report | U.S. Office of Government Ethics; 5 C.F.R. part 2634 | Form Approved: OMB No. (3209-0001) (March 2014)

Executive Branch Personnel
Public Financial Disclosure Report (OGE Form 278e)

Filer's Information
Trump, Ivanka

Adviser to the President, White House

Date of Appointment: 03/29/2017


Other Federal Government Positions Held During the Preceding 12 Months:
None



Electronic Signature - I certify that the statements I have made in this form are true, complete and correct to the best of my knowledge.

/s/ Trump, Ivanka [electronically signed on 06/12/2017 by Trump, Ivanka in Integrity.gov] - Filer received a 45 day filing extension.



Agency Ethics Official's Opinion - On the basis of information contained in this report, I conclude that the filer is in compliance with applicable laws and regulations
(subject to any comments below).
/s/ Passantino, Stefan, Certifying Official [electronically signed on 07/21/2017 by Passantino, Stefan in Integrity.gov]



Other review conducted by
/s/ Schultz, James D, Ethics Official [electronically signed on 07/21/2017 by Schultz, James D in Integrity.gov]



U.S. Office of Government Ethics Certification



Data Revised 07/20/2017
                          Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 3 of 88

Data Revised 07/19/2017


Data Revised 07/18/2017


Data Revised 07/17/2017
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 4 of 88


1. Filer's Positions Held Outside United States Government
#      ORGANIZATION NAME                                        CITY, STATE      ORGANIZATION        POSITION HELD    FROM      TO
                                                                                 TYPE

1      40 WALL STREET COMMERCIAL LLC (payroll                   New York, New    Limited Liability   Vice President   8/2009    1/2017
       company)                                                 York             Company

2      401 MEZZ VENTURE LLC (residential &                      New York, New    Limited Liability   Vice President   1/2012    1/2017
       commercial real estate in Chicago, IL)                   York             Company

3      401 NORTH WABASH VENTURE LLC                             New York, New    Limited Liability   Vice President   1/2007    1/2017
       (residential & commercial real estate in                 York             Company
       Chicago, IL)

4      809 NORTH CANON LLC (residential real                    New York, New    Limited Liability   Vice President   12/2006   1/2017
       estate in Los Angeles, CA)                               York             Company

5      809 NORTH CANON MEMBER                                   New York, New    Corporation         Vice President   12/2006   1/2017
       CORPORATION (pass-thru company for 809                   York
       North Canon LLC (residential real estate in
       Los Angeles, CA))

6      C DEVELOPMENT VENTURES LLC                               New York, New    Limited Liability   Executive Vice   4/2016    1/2017
       (dormant/inactive)                                       York             Company             President

7      C DEVELOPMENT VENTURES MEMBER CORP                       New York, New    Corporation         Executive Vice   4/2016    1/2017
       (pass-thru company for C DEVELOPMENT                     York                                 President
       VENTURES LLC (dormant/inactive))

8      D B PACE ACQUISITION MEMBER CORP                         New York, New    Corporation         Executive Vice   11/2014   1/2017
       (land, building and ff&e)                                York                                 President

9      DJT AEROSPACE LLC (aircraft)                             Atlantic City,   Limited Liability   Executive Vice   6/2010    1/2017
                                                                New Jersey       Company             President

10     DJT HOLDINGS LLC (holding company)                       New York, New    Limited Liability   Executive Vice   12/2010   1/2017
                                                                York             Company             President

11     DJT HOLDINGS MANAGING MEMBER LLC                         New York, New    Limited Liability   Executive Vice   12/2010   1/2017
       (pass-thru company for DJT HOLDINGS LLC                  York             Company             President
       (holding company))

12     DONKA SOHO MEMBER LLC                                    New York, New    Limited Liability   Member & Vice    4/2006    1/2017
       (dormant/inactive)                                       York             Company             President

13     DT APP WARRANT HOLDING LLC                               New York, New    Limited Liability   Executive Vice   3/2012    1/2017
       (dormant/inactive)                                       York             Company             President
                                  Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 5 of 88

#    ORGANIZATION NAME                                     CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                           TYPE

14   DT BALI GOLF MANAGER LLC                              New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                           York            Company             President

15   DT BALI GOLF MANAGER MEMBER CORP                      New York, New   Corporation         Executive Vice   6/2015    1/2017
     (pass-thru company for DT BALI GOLF                   York                                President
     MANAGER LLC)

16   DT BALI HOTEL MANAGER LLC                             New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                           York            Company             President

17   DT BALI HOTEL MANAGER MEMBER CORP                     New York, New   Corporation         Executive Vice   6/2015    1/2017
     (pass-thru company for DT BALI HOTEL                  York                                President
     MANAGER LLC)

18   DT BALI TECHNICAL SERVICES MANAGER                    New York, New   Limited Liability   Executive Vice   6/2015    1/2017
     LLC                                                   York            Company             President

19   DT BALI TECHNICAL SERVICES MANAGER                    New York, New   Corporation         Executive Vice   6/2015    1/2017
     MEMBER CORP (pass-thru company for DT                 York                                President
     BALI TECHNICAL SERVICES MANAGER LLC)

20   DT DUBAI GOLF MANAGER LLC                             New York, New   Limited Liability   Executive Vice   3/2013    1/2017
     (management company)                                  York            Company             President

21   DT DUBAI GOLF MANAGER MEMBER CORP                     New York, New   Corporation         Executive Vice   3/2013    1/2017
     (pass-thru company for DT DUBAI GOLF                  York                                President
     MANAGER LLC (management company))

22   DT DUBAI II GOLF MANAGER LLC                          New York, New   Limited Liability   Executive Vice   10/2014   1/2017
                                                           York            Company             President

23   DT DUBAI II GOLF MANAGER MEMBER CORP                  New York, New   Corporation         Executive Vice   10/2014   1/2017
     (pass-thru company for DT DUBAI II GOLF               York                                President
     MANAGER LLC)

24   DT INDIA VENTURE LLC (dormant/inactive)               New York, New   Limited Liability   Executive Vice   1/2012    1/2017
                                                           York            Company             President

25   DT LIDO GOLF MANAGER LLC                              New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                           York            Company             President

26   DT LIDO GOLF MANAGER MEMBER CORP                      New York, New   Corporation         Executive Vice   6/2015    1/2017
     (pass-thru company for DT LIDO GOLF                   York                                President
     MANAGER LLC)

27   DT LIDO HOTEL MANAGER LLC                             New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                           York            Company             President
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 6 of 88

#    ORGANIZATION NAME                                       CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                             TYPE

28   DT LIDO HOTEL MANAGER MEMBER CORP                       New York, New   Corporation         Executive Vice   6/2015    1/2017
     (pass-thru company for DT LIDO HOTEL                    York                                President
     MANAGER LLC (license deal))

29   DT LIDO TECHNICAL SERVICES MANAGER                      New York, New   Limited Liability   Executive Vice   6/2015    1/2017
     LLC                                                     York            Company             President

30   DT LIDO TECHNICAL SERVICES MANAGER                      New York, New   Corporation         Executive Vice   6/2015    1/2017
     MEMBER CORP (pass-thru company for DT                   York                                President
     LIDO TECHNICAL SERVICES MANAGER LLC)

31   DT MARKS BAKU LLC (dormant/inactive)                    New York, New   Limited Liability   Executive Vice   4/2012    1/2017
                                                             York            Company             President

32   DT MARKS BAKU MANAGING MEMBER                           New York, New   Corporation         Executive Vice   4/2012    1/2017
     CORP (pass-thru company for DT MARKS                    York                                President
     BAKU LLC (dormant/inactive))

33   DT MARKS BALI LLC (license deal)                        New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                             York            Company             President

34   DT MARKS BALI MEMBER CORP (pass-thru                    New York, New   Corporation         Executive Vice   6/2015    1/2017
     company for DT MARKS BALI LLC (license                  York                                President
     deal))

35   DT MARKS DUBAI LLC (license deal)                       New York, New   Limited Liability   Vice President   9/2013    1/2017
                                                             York            Company

36   DT MARKS DUBAI MEMBER CORP (pass-thru                   New York, New   Corporation         Vice President   9/2013    1/2017
     company for DT MARKS DUBAI LLC (license                 York
     deal))

37   DT MARKS GURGAON LLC (license deal)                     New York, New   Limited Liability   Executive Vice   10/2014   1/2017
                                                             York            Company             President

38   DT MARKS GURGAON MANAGING MEMBER                        New York, New   Corporation         Executive Vice   10/2014   1/2017
     CORP (pass-thru company for DT MARKS                    York                                President
     GURGAON LLC (license deal))

39   DT MARKS JERSEY CITY LLC (license deal)                 New York, New   Limited Liability   Executive Vice   10/2014   1/2017
                                                             York            Company             President

40   DT MARKS LIDO LLC (license deal)                        New York, New   Limited Liability   Executive Vice   6/2015    1/2017
                                                             York            Company             President

41   DT MARKS LIDO MEMBER CORP (pass-thru                    New York, New   Corporation         Executive Vice   6/2015    1/2017
     company for DT MARKS LIDO LLC (license                  York                                President
     deal))
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 7 of 88

#    ORGANIZATION NAME                                      CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                            TYPE

42   DT MARKS PUNE II LLC (dormant/inactive)                New York, New   Limited Liability   Executive Vice   6/2014    1/2017
                                                            York            Company             President

43   DT MARKS PUNE II MANAGING MEMBER                       New York, New   Corporation         Executive Vice   6/2014    1/2017
     CORP (pass-thru company for DT MARKS                   York                                President
     PUNE II LLC (dormant/inactive))

44   DT MARKS PUNE LLC (license deal)                       New York, New   Limited Liability   Executive Vice   1/2012    1/2017
                                                            York            Company             President

45   DT MARKS QATAR LLC (dormant/inactive)                  New York, New   Limited Liability   Executive Vice   10/2014   1/2017
                                                            York            Company             President

46   DT MARKS QATAR MEMBER CORP (pass-thru                  New York, New   Corporation         Executive Vice   10/2014   1/2017
     company for DT MARKS QATAR LLC                         York                                President
     (dormant/inactive))

47   DT MARKS RIO LLC (dormant/inactive)                    New York, New   Limited Liability   Executive Vice   3/2012    1/2017
                                                            York            Company             President

48   DT MARKS RIO MEMBER CORP (pass-thru                    New York, New   Corporation         Executive Vice   3/2012    1/2017
     company for DT MARKS RIO LLC                           York                                President
     (dormant/inactive))

49   DT MARKS VANCOUVER LP (license holder)                 New York, New   Limited             Vice President   1/2013    1/2017
                                                            York            Partnership

50   DT MARKS VANCOUVER MEMBER CORP                         New York, New   Corporation         Executive Vice   1/2013    1/2017
     (pass-thru company for DT MARKS                        York                                President
     VANCOUVER LP (license holder))

51   DT MARKS WORLI LLC (license deal)                      New York, New   Limited Liability   Executive Vice   5/2013    1/2017
                                                            York            Company             President

52   DT MARKS WORLI MEMBER CORP (pass-thru                  New York, New   Corporation         Executive Vice   5/2013    1/2017
     company for DT MARKS WORLI LLC (license                York                                President
     deal))

53   DT TOWER GURGAON LLC                                   New York, New   Limited Liability   Executive Vice   3/2015    1/2017
                                                            York            Company             President

54   DT TOWER GURGAON MANAGING MEMBER                       New York, New   Corporation         Executive Vice   3/2015    1/2017
     CORP (license holder)                                  York                                President

55   DT TOWER KOLKATA LLC (license holder)                  New York, New   Limited Liability   Executive Vice   11/2015   1/2017
                                                            York            Company             President
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 8 of 88

#    ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                               TYPE

56   DT TOWER KOLKATA MANAGING MEMBER                          New York, New   Corporation         Executive Vice   11/2015   1/2017
     CORP (pass-thru company for DT TOWER                      York                                President
     KOLKATA LLC (license holder))

57   DTTM OPERATIONS LLC (pass-thru entity)                    New York, New   Limited Liability   Executive Vice   1/2016    1/2017
                                                               York            Company             President

58   DTTM OPERATIONS MANAGING MEMBER                           New York, New   Corporation         Executive Vice   1/2016    1/2017
     CORP (pass-thru company for DTTM                          York                                President
     OPERATIONS LLC (pass-thru entity))

59   GOLF PRODUCTIONS LLC (golf video                          New York, New   Limited Liability   Vice President   6/2009    1/2017
     production company)                                       York            Company

60   GOLF PRODUCTIONS MEMBER CORP (pass-                       New York, New   Corporation         Vice President   6/2009    1/2017
     thru company for GOLF PRODUCTIONS LLC                     York
     (golf video production company))

61   IVANKA OPO HOTEL MANAGER LLC                See Endnote   Washington,     Limited Liability   President,       6/2013    1/2017
     (management of DC hotel)                                  District of     Company             Secretary,
                                                               Columbia                            Member &
                                                                                                   Treasurer

62   IVANKA OPO LLC                                            Washington,     Limited Liability   Member,          6/2013    1/2017
                                                               District of     Company             President,
                                                               Columbia                            Treasurer

63   JUPITER GOLF CLUB LLC (golf club)                         New York, New   Limited Liability   Executive Vice   9/2012    1/2017
                                                               York            Company             President

64   JUPITER GOLF CLUB MANAGING MEMBER                         New York, New   Corporation         Executive Vice   9/2012    1/2017
     CORP (pass-thru company for JUPITER GOLF                  York                                President
     CLUB LLC (golf club))

65   LFB ACQUISITION MEMBER CORP (pass-thru                    New York, New   Corporation         Executive Vice   11/2011   1/2017
     company)                                                  York                                President

66   MAR-A-LAGO CLUB, L.L.C. (a/k/a The Mar-A-                 New York, New   Limited Liability   Vice President   1/2010    1/2017
     Lago Club L.C.) (resort)                                  York            Company

67   NITTO WORLD CO., LIMITED                                  Turnberry,      Foreign Entity      Director         6/2014    1/2017
     (dormant/inactive)                                        Scotland,
                                                               Outside U.S.

68   OPO HOTEL MANAGER LLC (management of        See Endnote   New York, New   Limited Liability   Executive Vice   6/2013    1/2017
     DC hotel)                                                 York            Company             President
                                     Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 9 of 88

#    ORGANIZATION NAME                                        CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                              TYPE

69   OPO HOTEL MANAGER MEMBER CORP                            New York, New   Corporation         Executive Vice   6/2013    1/2017
     (pass-thru company for OPO HOTEL                         York                                President
     MANAGER LLC)

70   OWO DEVELOPER LLC (dormant/inactive)                     New York, New   Limited Liability   Executive Vice   11/2014   1/2017
                                                              York            Company             President

71   PANAMA OCEAN CLUB MANAGEMENT LLC                         New York, New   Limited Liability   Executive Vice   8/2010    1/2017
     (dormant/inactive)                                       York            Company             President

72   PANAMA OCEAN CLUB MANAGEMENT                             New York, New   Corporation         Executive Vice   8/2010    1/2017
     MEMBER CORP (pass-thru company for                       York                                President
     PANAMA OCEAN CLUB MANAGEMENT LLC
     (dormant/inactive))

73   PINE HILL DEVELOPMENT LLC (golf club)                    New York, New   Limited Liability   Executive Vice   4/2014    1/2017
                                                              York            Company             President

74   PINE HILL DEVELOPMENT MANAGING                           New York, New   Corporation         Executive Vice   4/2014    1/2017
     MEMBER CORP (pass-thru company for PINE                  York                                President
     HILL DEVELOPMENT LLC (golf club))

75   POKER VENTURE LLC (dormant/inactive)                     New York, New   Limited Liability   Executive Vice   3/2012    1/2017
                                                              York            Company             President,
                                                                                                  Secretary &
                                                                                                  Treasurer

76   POKER VENTURE MANAGING MEMBER                            New York, New   Corporation         Executive Vice   3/2012    1/2017
     CORP (pass-thru company for POKER                        York                                President,
     VENTURE LLC (dormant/inactive))                                                              Secretary &
                                                                                                  Treasurer

77   SEVEN SPRINGS LLC (real estate in Mt. Kisco,             New York, New   Limited Liability   Executive Vice   6/2010    1/2017
     NY)                                                      York            Company             President

78   SLC TURNBERRY LIMITED (golf courses &                    Turnberry,      Foreign Entity      Director         6/2014    1/2017
     resort)                                                  Scotland,
                                                              Outside U.S.

79   T INTERNATIONAL REALTY LLC                               New York, New   Limited Liability   Executive Vice   9/2012    1/2017
                                                              York            Company             President &
                                                                                                  Secretary

80   TC MARKS BUENOS AIRES LLC                                New York, New   Limited Liability   Executive Vice   4/2016    1/2017
     (dormant/inactive)                                       York            Company             President

81   THC BAKU HOTEL MANAGER SERVICES LLC                      New York, New   Limited Liability   Executive Vice   12/2014   1/2017
     (dormant/inactive)                                       York            Company             President
                                  Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 10 of 88

#    ORGANIZATION NAME                                     CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                           TYPE

82   THC BAKU HOTEL MANAGER SERVICES                       New York, New   Corporation         Executive Vice   12/2014   1/2017
     MEMBER CORP (pass-thru company for THC                York                                President
     BAKU HOTEL MANAGER SERVICES LLC
     (dormant/inactive))

83   THC BAKU SERVICES LLC (dormant/inactive)              New York, New   Limited Liability   Executive Vice   12/2014   1/2017
                                                           York            Company             President

84   THC BAKU SERVICES MEMBER CORP (pass-                  New York, New   Corporation         Executive Vice   12/2014   1/2017
     thru company for THC BAKU SERVICES LLC                York                                President
     (dormant/inactive))

85   THC CENTRAL RESERVATIONS LLC (hotel                   New York, New   Limited Liability   Vice President   9/2013    1/2017
     company)                                              York            Company

86   THC CENTRAL RESERVATIONS MEMBER                       New York, New   Corporation         Vice President   9/2013    1/2017
     CORP (pass-thru company for THC CENTRAL               York
     RESERVATIONS LLC (hotel company))

87   THC CHINA DEVELOPMENT LLC (developer)                 New York, New   Limited Liability   Executive Vice   9/2012    1/2017
                                                           York            Company             President

88   THC CHINA TECHNICAL SERVICES LLC                      New York, New   Limited Liability   Executive Vice   5/2014    1/2017
     (dormant/inactive)                                    York            Company             President

89   THC CHINA TECHNICAL SERVICES MANAGER                  New York, New   Corporation         Executive Vice   5/2014    1/2017
     CORP (pass-thru company for THC CHINA                 York                                President
     TECHNICAL SERVICES LLC
     (dormant/inactive))

90   THC DC RESTAURANT HOSPITALITY LLC                     New York, New   Limited Liability   Executive Vice   8/2015    1/2017
                                                           York            Company             President

91   THC DEVELOPMENT BRAZIL LLC                            New York, New   Limited Liability   Executive Vice   5/2013    1/2017
     (dormant/inactive)                                    York            Company             President

92   THC DEVELOPMENT BRAZIL MANAGING                       New York, New   Corporation         Executive Vice   5/2013    1/2017
     MEMBER CORP (pass-thru company for THC                York                                President
     DEVELOPMENT BRAZIL LLC
     (dormant/inactive))

93   THC HOTEL DEVELOPMENT LLC                             New York, New   Limited Liability   Executive Vice   10/2012   1/2017
     (dormant/inactive)                                    York            Company             President

94   THC MIAMI RESTAURANT HOSPITALITY LLC                  New York, New   Limited Liability   Executive Vice   2/2013    1/2017
     (restaurant operations)                               York            Company             President
                                  Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 11 of 88

#     ORGANIZATION NAME                                    CITY, STATE       ORGANIZATION        POSITION HELD    FROM      TO
                                                                             TYPE

95    THC MIAMI RESTAURANT HOSPITALITY                     New York, New     Corporation         Executive Vice   2/2013    1/2017
      MEMBER CORP (pass-thru company for THC               York                                  President
      MIAMI RESTAURANT HOSPITALITY LLC
      (restaurant operations))

96    THC QATAR HOTEL MANAGER LLC                          New York, New     Limited Liability   Executive Vice   10/2014   1/2017
      (dormant/inactive)                                   York              Company             President

97    THC QATAR HOTEL MANAGER MEMBER                       New York, New     Corporation         Executive Vice   10/2014   1/2017
      CORP (pass-thru company for THC QATAR                York                                  President
      HOTEL MANAGER LLC (dormant/inactive))

98    THC RIO MANAGER LLC (dormant/inactive)               New York, New     Limited Liability   Executive Vice   4/2013    1/2017
                                                           York              Company             President

99    THC RIO MANAGING MEMBER CORP (pass-                  New York, New     Corporation         Executive Vice   4/2013    1/2017
      thru company for THC RIO MANAGER LLC                 York                                  President
      (dormant/inactive))

100   THC SALES & MARKETING LLC (management                New York, New     Limited Liability   Vice President   9/2013    1/2017
      company)                                             York              Company

101   THC SALES & MARKETING MEMBER CORP                    New York, New     Corporation         Vice President   9/2013    1/2017
      (pass-thru company for THC SALES &                   York
      MARKETING LLC (management company))

102   THC SERVICES SHENZHEN LLC                            New York, New     Limited Liability   Executive Vice   11/2014   1/2017
      (dormant/inactive)                                   York              Company             President

103   THC SERVICES SHENZHEN MEMBER CORP                    New York, New     Corporation         Executive Vice   11/2014   1/2017
      (pass-thru company for THC SERVICES                  York                                  President
      SHENZEN LLC (dormant/inactive))

104   THC SHENZHEN HOTEL MANAGER LLC                       New York, New     Limited Liability   Executive Vice   11/2014   1/2017
      (dormant/inactive)                                   York              Company             President

105   THC SHENZHEN HOTEL MANAGER MEMBER                    New York, New     Corporation         Executive Vice   11/2014   1/2017
      CORP (pass-thru company for THC HOTEL                York                                  President
      MANAGER LLC (dormant/inactive))

106   THC VANCOUVER MANAGEMENT CORP                        New York, New     Corporation         Executive Vice   1/2013    1/2017
      (management company)                                 York                                  President

107   THC VANCOUVER PAYROLL ULC (payroll                   British           Foreign Entity      Executive Vice   2/2015    1/2017
      company)                                             Columbia,                             President
                                                           Canada, Outside
                                                           U.S.
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 12 of 88

#     ORGANIZATION NAME                                     CITY, STATE        ORGANIZATION        POSITION HELD    FROM      TO
                                                                               TYPE

108   THC VENTURE II LLC (dormant/inactive)                 New York, New      Limited Liability   Executive Vice   10/2014   1/2017
                                                            York               Company             President

109   THC VENTURE II MANAGING MEMBER CORP.                  New York, New      Corporation         Executive Vice   10/2014   1/2017
      (pass-thru company for THC VENTURE II LLC             York                                   President
      (dormant/inactive))

110   THE TRUMP CORPORATION (management                     New York, New      Corporation         Vice President   5/2009    1/2017
      company)                                              York

111   THE TRUMP FOLLIES MEMBER INC.                         New York, New      Corporation         Executive Vice   9/2010    1/2017
      (dormant/inactive)                                    York                                   President

112   THE TRUMP MARKS REAL ESTATE CORP                      New York, New      Corporation         Vice President   2/2007    1/2017
      (pass-thru company for TRUMP MARKS REAL               York
      ESTATE LLC (license holder))

113   THE TRUMP ORGANIZATION, INC.                          New York, New      Corporation         Vice President   3/2010    1/2017
      (inactive/dormant)                                    York

114   TIGL IRELAND ENTERPRISES LIMITED (golf                Doonbeg,           Foreign Entity      Director         2/2014    1/2017
      course & resort)                                      Ireland, Outside
                                                            U.S.

115   TIGL IRELAND MANAGEMENT LIMITED                       Doonbeg,           Foreign Entity      Director         2/2014    1/2017
      (management company)                                  Ireland, Outside
                                                            U.S.

116   TIHC RESERVATIONS LLC (dormant/inactive)              New York, New      Limited Liability   Executive Vice   8/2010    1/2017
                                                            York               Company             President

117   TIHH MEMBER CORP (pass-thru company                   New York, New      Corporation         Vice President   9/2009    1/2017
      for TIHH MEMBER LLC (pass-thru company                York
      for TRUMP INTERNATIONAL HOTEL HAWAII
      LLC (license holder))

118   TIHH MEMBER LLC (pass-thru company for                New York, New      Limited Liability   Vice President   9/2009    1/2017
      TRUMP INTERNATIONAL HOTEL HAWAII LLC                  York               Company
      (license holder))

119   TIHM MEMBER CORP (pass-thru company                   New York, New      Corporation         Vice President   6/2006    1/2017
      for TRUMP INTERNATIONAL HOTELS                        York
      MANAGEMENT LLC (management
      company))

120   TNGC CHARLOTTE LLC (golf club)                        New York, New      Limited Liability   Executive Vice   10/2011   1/2017
                                                            York               Company             President
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 13 of 88

#     ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                                TYPE

121   TNGC CHARLOTTE MANAGER CORP (pass-                        New York, New   Corporation         Executive Vice   10/2011   1/2017
      thru company for TNGC CHARLOTTE LLC                       York                                President
      (golf club))

122   TNGC DUTCHESS COUNTY LLC (golf club)                      New York, New   Limited Liability   Vice President   11/2009   1/2017
                                                                York            Company

123   TNGC DUTCHESS COUNTY MEMBER CORP                          New York, New   Corporation         Vice President   11/2009   1/2017
      (pass-thru company for TNGC DUTCHESS                      York
      COUNTY LLC (golf club))

124   TNGC PINE HILL LLC (golf club)                            New York, New   Limited Liability   Vice President   11/2009   1/2017
                                                                York            Company

125   TNGC PINE HILL MEMBER CORP (pass-thru                     New York, New   Corporation         Vice President   11/2009   1/2017
      company for TNGC PINE HILL LLC (golf club))               York

126   TRUMP AC CASINO MARKS LLC                                 New York, New   Limited Liability   Executive Vice   8/2010    1/2017
      (dormant/inactive)                                        York            Company             President

127   TRUMP AC CASINO MARKS MEMBER CORP                         New York, New   Corporation         Executive Vice   8/2010    1/2017
      (pass-thru company for TRUMP AC CASINO                    York                                President
      MARKS LLC (dormant/inactive))

128   TRUMP ACQUISITION CORP (pass-thru                         New York, New   Corporation         Executive Vice   2/2008    1/2017
      company for TRUMP ACQUISITION LLC                         York                                President
      (dormant/inactive))

129   TRUMP ACQUISITION LLC (dormant/inactive)                  New York, New   Limited Liability   Vice President   6/2008    1/2017
                                                                York            Company

130   TRUMP CANADIAN SERVICES, INC.                             New York, New   Corporation         Vice President   6/2016    1/2017
      (dormant/inactive)                                        York

131   TRUMP CAROUSEL MEMBER CORP (pass-                         New York, New   Corporation         Vice President   2/2010    1/2017
      thru company for TRUMP CAROUSEL LLC                       York
      (carousel operator))

132   TRUMP CHICAGO COMMERCIAL MEMBER                           New York, New   Corporation         Vice President   7/2010    1/2017
      CORP (pass-thru company for TRUMP                         York
      CHICAGO COMMERCIAL MANAGER LLC
      (management company))

133   TRUMP CHICAGO COMMERCIAL MANAGER                          New York, New   Limited Liability   Vice President   6/2010    1/2017
      LLC (management company)                                  York            Company

134   TRUMP CHICAGO HOTEL MANAGER LLC                           New York, New   Limited Liability   Vice President   6/2010    1/2017
      (management company)                                      York            Company
                                      Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 14 of 88

#     ORGANIZATION NAME                                        CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                               TYPE

135   TRUMP CHICAGO HOTEL MEMBER CORP                          New York, New   Corporation         Vice President   7/2010    1/2017
      (pass-thru company for TRUMP CHICAGO                     York
      HOTEL MANAGER LLC (management
      company))

136   TRUMP CHICAGO RESIDENTIAL MANAGER                        New York, New   Limited Liability   Vice President   6/2010    1/2017
      LLC (management company)                                 York            Company

137   TRUMP CHICAGO RESIDENTIAL MEMBER                         New York, New   Corporation         Vice President   7/2010    1/2017
      CORP (pass-thru company for TRUMP                        York
      CHICAGO RESIDENTIAL MANAGER LLC
      (management company))

138   TRUMP CHICAGO RETAIL LLC (residential &                  New York, New   Limited Liability   Executive Vice   10/2012   1/2017
      commercial real estate)                                  York            Company             President

139   TRUMP CHICAGO RETAIL MANAGER LLC                         New York, New   Limited Liability   Executive Vice   10/2012   1/2017
      (dormant/inactive)                                       York            Company             President

140   TRUMP CHICAGO RETAIL MEMBER CORP                         New York, New   Corporation         Executive Vice   10/2012   1/2017
      (pass-thru company for TRUMP CHICAGO                     York                                President
      RETAIL MANAGER LLC (dormant/inactive))

141   TRUMP COMMERCIAL CHICAGO LLC                             New York, New   Limited Liability   Vice President   10/2007   1/2017
      (residential & commercial real estate)                   York            Company

142   TRUMP DEVELOPMENT SERVICES LLC                           New York, New   Limited Liability   Vice President   9/2009    1/2017
      (dormant/inactive)                                       York            Company

143   TRUMP DEVELOPMENT SERVICES MEMBER                        New York, New   Corporation         Vice President   9/2009    1/2017
      CORP (dormant/inactive)                                  York

144   TRUMP DRINKS ISRAEL LLC                                  New York, New   Limited Liability   Executive Vice   5/2011    1/2017
      (dormant/inactive)                                       York            Company             President

145   TRUMP ENDEAVOR 12 LLC (golf courses &                    New York, New   Limited Liability   Executive Vice   10/2011   1/2017
      resort)                                                  York            Company             President

146   TRUMP ENDEAVOR 12 MANAGER CORP                           New York, New   Corporation         Executive Vice   10/2011   1/2017
      (pass-thru company for TRUMP ENDEAVOR                    York                                President
      12 LLC (golf courses & resort))

147   TRUMP FERRY POINT LLC (golf course)                      New York, New   Limited Liability   Executive Vice   6/2010    1/2017
                                                               York            Company             President

148   TRUMP FERRY POINT MEMBER CORP (pass-                     New York, New   Corporation         Vice President   6/2010    1/2017
      thru company for TRUMP FERRY POINT LLC                   York
      (golf courses))
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 15 of 88

#     ORGANIZATION NAME                                          CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                                 TYPE

149   TRUMP GOLF ACQUISITIONS LLC (entity set                    New York, New   Limited Liability   Executive Vice   4/2010    1/2017
      up to sign letters of intent for golf related              York            Company             President
      deals)

150   TRUMP GOLF COCO BEACH LLC                                  New York, New   Limited Liability   Vice President   12/2007   1/2017
      (dormant/inactive)                                         York            Company

151   TRUMP GOLF COCO BEACH MEMBER CORP                          New York, New   Corporation         Vice President   12/2007   1/2017
      (pass-thru company for TRUMP GOLF COCO                     York
      BEACH LLC (dormant/inactive))

152   TRUMP HOME MARKS LLC (license holder)                      New York, New   Limited Liability   Vice President   11/2009   1/2017
                                                                 York            Company

153   TRUMP HOME MARKS MEMBER CORP (pass-                        New York, New   Corporation         Vice President   11/2009   1/2017
      thru company for TRUMP HOME MARKS LLC                      York
      (license holder))

154   TRUMP INTERNATIONAL DEVELOPMENT LLC                        New York, New   Limited Liability   Executive Vice   11/2010   1/2017
      (dormant/inactive)                                         York            Company             President

155   TRUMP INTERNATIONAL DEVELOPMENT                            New York, New   Corporation         Executive Vice   11/2010   1/2017
      MEMBER CORP (pass-thru company for                         York                                President
      TRUMP INTERNATIONAL DEVELOPMENT LLC
      (dormant/inactive))

156   TRUMP INTERNATIONAL HOTEL HAWAII LLC                       New York, New   Limited Liability   Vice President   9/2009    1/2017
      (license holder)                                           York            Company

157   TRUMP INTERNATIONAL HOTELS                                 New York, New   Limited Liability   Vice President   6/2006    1/2017
      MANAGEMENT LLC (management company)                        York            Company

158   TRUMP LAS VEGAS CORP (pass-thru                            Las Vegas,      Corporation         Vice President   12/2009   1/2017
      company for TRUMP LAS VEGAS MEMBER                         Nevada
      LLC (pass-thru entity))

159   TRUMP LAS VEGAS DEVELOPMENT LLC                            Las Vegas,      Limited Liability   Vice President   11/2009   1/2017
      (entity set up to receive development fees)                Nevada          Company

160   TRUMP MARKETING LLC (license deal)                         New York, New   Limited Liability   Executive Vice   2/2011    1/2017
                                                                 York            Company             President

161   TRUMP MARKS ASIA CORP (pass-thru                           New York, New   Corporation         Vice President   3/2008    1/2017
      company for TRUMP MARKS ASIA LLC                           York
      (residential real estate in Sterling, VA))

162   TRUMP MARKS ASIA LLC (residential real                     New York, New   Limited Liability   Vice President   2/2008    1/2017
      estate in Sterling, VA)                                    York            Company
                                 Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 16 of 88

#     ORGANIZATION NAME                                   CITY, STATE     ORGANIZATION        POSITION HELD    FROM     TO
                                                                          TYPE

163   TRUMP MARKS ATLANTA LLC                             New York, New   Limited Liability   Vice President   5/2008   1/2017
      (dormant/inactive)                                  York            Company

164   TRUMP MARKS ATLANTA MEMBER CORP                     New York, New   Corporation         Executive Vice   5/2008   1/2017
      (pass-thru company for TRUMP MARKS                  York                                President
      ATLANTA LLC (dormant/inactive))

165   TRUMP MARKS BATUMI LLC                              New York, New   Limited Liability   Executive Vice   3/2011   1/2017
      (dormant/inactive)                                  York            Company             President

166   TRUMP MARKS BATUMI MANAGING                         New York, New   Corporation         Executive Vice   3/2011   1/2017
      MEMBER CORP (pass-thru company for                  York                                President
      TRUMP MARKS BATUMI LLC
      (dormant/inactive))

167   TRUMP MARKS CANOUAN LLC                             New York, New   Limited Liability   Vice President   5/2007   1/2017
      (dormant/inactive)                                  York            Company

168   TRUMP MARKS CHICAGO LLC                             New York, New   Limited Liability   Executive Vice   4/2010   1/2017
      (dormant/inactive)                                  York            Company             President

169   TRUMP MARKS CHICAGO MEMBER CORP                     New York, New   Corporation         Vice President   4/2010   1/2017
      (pass-thru company for TRUMP MARKS                  York
      CHICAGO LLC (dormant/inactive))

170   TRUMP MARKS DUBAl CORP (pass-thru                   New York, New   Corporation         Vice President   6/2007   1/2017
      company for TRUMP MARKS DUBAI LLC                   York
      (dormant/inactive))

171   TRUMP MARKS DUBAI LLC                               New York, New   Limited Liability   Vice President   6/2007   1/2017
      (dormant/inactive)                                  York            Company

172   TRUMP MARKS EGYPT LLC                               New York, New   Limited Liability   Vice President   9/2007   1/2017
      (dormant/inactive)                                  York            Company

173   TRUMP MARKS FINE FOODS LLC (license                 New York, New   Limited Liability   Vice President   9/2009   1/2017
      holder)                                             York            Company

174   TRUMP MARKS FINE FOODS MEMBER CORP                  New York, New   Corporation         Vice President   9/2009   1/2017
      (pass-thru company for TRUMP MARKS FINE             York
      FOODS LLC (license holder))

175   TRUMP MARKS HOLLYWOOD CORP (pass-                   New York, New   Corporation         Vice President   4/2007   1/2017
      thru company for TRUMP MARKS                        York
      HOLLYWOOD LLC (dormant/inactive))

176   TRUMP MARKS HOLLYWOOD LLC                           New York, New   Limited Liability   Vice President   4/2007   1/2017
      (dormant/inactive)                                  York            Company
                                  Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 17 of 88

#     ORGANIZATION NAME                                    CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                           TYPE

177   TRUMP MARKS ISTANBUL II CORP (pass-thru              New York, New   Corporation         Executive Vice   3/2008    1/2017
      company for TRUMP MARKS ISTANBUL II                  York                                President
      LLC (license holder))

178   TRUMP MARKS ISTANBUL II LLC (license                 New York, New   Limited Liability   Vice President   3/2008    1/2017
      holder)                                              York            Company

179   TRUMP MARKS JERSEY CITY CORP (pass-thru              New York, New   Corporation         Vice President   6/2007    1/2017
      company for TRUMP MARKS JERSEY CITY LLC              York
      (license holder))

180   TRUMP MARKS JERSEY CITY LLC (inactive                New York, New   Limited Liability   Vice President   6/2007    1/2017
      license deal)                                        York            Company

181   TRUMP MARKS LAS VEGAS LLC                            New York, New   Limited Liability   Vice President   9/2007    1/2017
      (dormant/inactive)                                   York            Company

182   TRUMP MARKS LLC (license holder)                     New York, New   Limited Liability   Vice President   2/2005    1/2017
                                                           York            Company

183   TRUMP MARKS MATTRESS LLC (license                    New York, New   Limited Liability   Vice President   8/2008    1/2017
      holder)                                              York            Company

184   TRUMP MARKS MATTRESS MEMBER CORP                     New York, New   Corporation         Executive Vice   8/2008    1/2017
      (pass-thru company for TRUMP MARKS                   York                                President
      MATTRESS LLC (license holder))

185   TRUMP MARKS MENSWEAR LLC (license                    New York, New   Limited Liability   Vice President   8/2009    1/2017
      holder)                                              York            Company

186   TRUMP MARKS MENSWEAR MEMBER CORP                     New York, New   Corporation         Vice President   8/2009    1/2017
      (pass-thru company for TRUMP MARKS                   York
      MENSWEAR LLC (license holder))

187   TRUMP MARKS MUMBAI LLC                               New York, New   Limited Liability   Executive Vice   10/2010   1/2017
      (dormant/inactive)                                   York            Company             President

188   TRUMP MARKS MUMBAI MEMBER CORP                       New York, New   Corporation         Executive Vice   10/2010   1/2017
      (pass-thru company for TRUMP MARKS                   York                                President
      MUMBAI LLC (dormant/inactive))

189   TRUMP MARKS NEW ROCHELLE CORP (pass-                 New York, New   Corporation         Vice President   6/2007    1/2017
      thru company for TRUMP MARKS NEW                     York
      ROCHELLE LLC (license holder))

190   TRUMP MARKS NEW ROCHELLE LLC (license                New York, New   Limited Liability   Vice President   6/2007    1/2017
      holder)                                              York            Company
                                  Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 18 of 88

#     ORGANIZATION NAME                                    CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                           TYPE

191   TRUMP MARKS PALM BEACH CORP (pass-                   New York, New   Corporation         Vice President   6/2007    1/2017
      thru company for TRUMP MARKS PALM                    York
      BEACH LLC (dormant/inactive))

192   TRUMP MARKS PALM BEACH LLC                           New York, New   Limited Liability   Vice President   6/2007    1/2017
      (dormant/inactive)                                   York            Company

193   TRUMP MARKS PANAMA CORP (pass-thru                   New York, New   Corporation         Vice President   4/2007    1/2017
      company for TRUMP MARKS PANAMA LLC                   York
      (license holder))

194   TRUMP MARKS PANAMA LLC (license holder)              New York, New   Limited Liability   Vice President   4/2007    1/2017
                                                           York            Company

195   TRUMP MARKS PHILADELPHIA CORP (pass-                 New York, New   Corporation         Vice President   4/2007    1/2017
      thru company for TRUMP MARKS                         York
      PHILADELPHIA LLC (dormant/inactive))

196   TRUMP MARKS PHILADELPHIA LLC                         New York, New   Limited Liability   Vice President   4/2007    1/2017
      (dormant/inactive)                                   York            Company

197   TRUMP MARKS PHILIPPINES CORP (pass-                  New York, New   Corporation         Vice President   3/2008    1/2017
      thru company for TRUMP MARKS                         York
      PHILIPPINES LLC (license holder))

198   TRUMP MARKS PHILIPPINES LLC (license                 New York, New   Limited Liability   Vice President   3/2008    1/2017
      holder)                                              York            Company

199   TRUMP MARKS PRODUCTS LLC (license                    New York, New   Limited Liability   Executive Vice   9/2010    1/2017
      holder)                                              York            Company             President

200   TRUMP MARKS PRODUCTS MEMBER CORP                     New York, New   Corporation         Executive Vice   9/2010    1/2017
      (pass-thru company for TRUMP MARKS                   York                                President
      PRODUCTS LLC (license holder))

201   TRUMP MARKS PUERTO RICO I LLC                        New York, New   Limited Liability   Vice President   12/2007   1/2017
      (dormant/inactive)                                   York            Company

202   TRUMP MARKS PUERTO RICO I MEMBER                     New York, New   Corporation         Vice President   12/2007   1/2017
      CORP (pass-thru company for TRUMP                    York
      MARKS PUERTO RICO I LLC
      (dormant/inactive))

203   TRUMP MARKS PUNTA DEL ESTE LLC (license              New York, New   Limited Liability   Executive Vice   1/2012    1/2017
      deal)                                                York            Company             President

204   TRUMP MARKS REAL ESTATE LLC (license                 New York, New   Limited Liability   Vice President   2/2009    1/2017
      holder)                                              York            Company
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 19 of 88

#     ORGANIZATION NAME                                     CITY, STATE     ORGANIZATION        POSITION HELD    FROM     TO
                                                                            TYPE

205   TRUMP MARKS SOHO LLC (license deal)                   New York, New   Limited Liability   Vice President   6/2007   1/2017
                                                            York            Company

206   TRUMP MARKS STAMFORD CORP (pass-thru                  New York, New   Corporation         Vice President   6/2007   1/2017
      company for TRUMP MARKS STAMFORD LLC                  York
      (license deal))

207   TRUMP MARKS STAMFORD LLC (license deal)               New York, New   Limited Liability   Vice President   6/2007   1/2017
                                                            York            Company

208   TRUMP MARKS SUNNY ISLES I LLC (license                New York, New   Limited Liability   Executive Vice   7/2010   1/2017
      deal)                                                 York            Company             President

209   TRUMP MARKS TORONTO LP                                New York, New   Limited             Vice President   6/2016   1/2017
      (dormant/inactive)                                    York            Partnership

210   TRUMP MARKS WAIKIKI CORP (pass-thru                   New York, New   Corporation         Vice President   4/2007   1/2017
      company for TRUMP MARKS WAIKIKI LLC                   York
      (license holder))

211   TRUMP MARKS WAIKIKI LLC (license holder)              New York, New   Limited Liability   Vice President   4/2007   1/2017
                                                            York            Company

212   TRUMP MARKS WESTCHESTER CORP (pass-                   New York, New   Corporation         Vice President   6/2007   1/2017
      thru company for TRUMP MARKS                          York
      WESTCHESTER LLC (license deal))

213   TRUMP MARKS WESTCHESTER LLC (license                  New York, New   Limited Liability   Vice President   6/2007   1/2017
      deal)                                                 York            Company

214   TRUMP MARKS WHITE PLAINS CORP (pass-                  New York, New   Corporation         Vice President   6/2007   1/2017
      thru company for TRUMP MARKS WHITE                    York
      PLAINS LLC (license holder))

215   TRUMP MARKS WHITE PLAINS LLC (license                 New York, New   Limited Liability   Vice President   6/2007   1/2017
      holder)                                               York            Company

216   TRUMP MIAMI RESORT MANAGEMENT LLC                     New York, New   Limited Liability   Executive Vice   3/2012   1/2017
      (management company)                                  York            Company             President

217   TRUMP MIAMI RESORT MANAGEMENT                         New York, New   Corporation         Executive Vice   3/2012   1/2017
      MEMBER CORP (pass-thru company for                    York                                President
      TRUMP MIAMI RESORT MANAGEMENT LLC
      (management company))

218   TRUMP NATIONAL GOLF CLUB COLTS NECK                   New York, New   Limited Liability   Vice President   7/2008   1/2017
      LLC (golf club)                                       York            Company
                                     Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 20 of 88

#     ORGANIZATION NAME                                       CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                              TYPE

219   TRUMP NATIONAL GOLF CLUB LLC (a/k/a                     New York, New   Limited Liability   Vice President   7/2008    1/2017
      Trump National Golf Club) (golf club in                 York            Company
      Briarcliff Manor, NY)

220   TRUMP NATIONAL GOLF CLUB MEMBER                         New York, New   Corporation         Executive Vice   11/2011   1/2017
      CORP (pass-thru company for TRUMP                       York                                President
      NATIONAL GOLF CLUB LLC (golf club in
      Briarcliff Manor, NY))

221   TRUMP NATIONAL GOLF CLUB                                New York, New   Limited Liability   Vice President   2/2009    1/2017
      WASHINGTON DC LLC (golf club)                           York            Company

222   TRUMP NATIONAL GOLF CLUB                                New York, New   Corporation         Vice President   2/2009    1/2017
      WASHINGTON DC MEMBER CORP (pass-thru                    York
      company for TRUMP NATIONAL GOLF CLUB
      WASHINGTON DC LLC (golf club))

223   TRUMP OLD POST OFFICE LLC (hotel in                     New York, New   Limited Liability   Executive Vice   6/2011    1/2017
      Washington, DC)                                         York            Company             President

224   TRUMP ORGANIZATION LLC                                  New York, New   Limited Liability   Vice             2/2009    1/2017
      (dormant/inactive)                                      York            Company             President/EVP

225   TRUMP PANAMA CONDOMINIUM                                New York, New   Limited Liability   Executive Vice   12/2010   1/2017
      MANAGEMENT LLC (dormant/inactive)                       York            Company             President

226   TRUMP PANAMA CONDOMINIUM MEMBER                         New York, New   Corporation         Executive Vice   12/2010   1/2017
      CORP (pass-thru company for TRUMP                       York                                President
      PANAMA CONDOMINIUM MANAGEMENT
      LLC (dormant/inactive))

227   TRUMP PANAMA HOTEL MANAGEMENT LLC                       New York, New   Limited Liability   Executive Vice   8/2010    1/2017
      (management company)                                    York            Company             President

228   TRUMP PANAMA HOTEL MANAGEMENT                           New York, New   Corporation         Executive Vice   8/2010    1/2017
      MEMBER CORP (pass-thru company for                      York                                President
      TRUMP PANAMA HOTEL MANAGEMENT LLC
      (management company))

229   TRUMP PARK AVENUE LLC (residential &                    New York, New   Limited Liability   Vice President   2/2012    1/2017
      commercial real estate)                                 York            Company

230   TRUMP RESTAURANTS LLC (restaurant)                      New York, New   Limited Liability   Executive Vice   7/2012    1/2017
                                                              York            Company             President

231   TRUMP RUFFIN COMMERCIAL LLC                             New York, New   Limited Liability   Vice President   10/2007   1/2017
      (commercial real estate in Las Vegas, NV)               York            Company
                                      Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 21 of 88

#     ORGANIZATION NAME                                        CITY, STATE         ORGANIZATION        POSITION HELD    FROM      TO
                                                                                   TYPE

232   TRUMP RUFFIN TOWER I LLC (commercial                     Las Vegas,          Limited Liability   Vice President   1/2007    1/2017
      real estate in Las Vegas, NV)                            Nevada              Company

233   TRUMP SALES & LEASING CHICAGO LLC                        Chicago, Illinois   Limited Liability   Vice President   10/2009   1/2017
      (commercial real estate)                                                     Company

234   TRUMP SALES & LEASING CHICAGO                            Chicago, Illinois   Corporation         Vice President   10/2009   1/2017
      MEMBER CORP (pass-thru company for
      TRUMP SALES & LEASING CHICAGO LLC
      (commercial real estate))

235   TRUMP SOHO MEMBER LLC                                    New York, New       Limited Liability   Vice President   4/2006    1/2017
      (dormant/inactive)                                       York                Company

236   TRUMP TORONTO DEVELOPMENT, INC.                          New York, New       Corporation         Vice President   6/2016    1/2017
      (license deal)                                           York

237   TRUMP TORONTO HOTEL MANAGEMENT                           Toronto,            Corporation         Vice President   1/2015    1/2017
      CORP (license deal)                                      Canada, Outside
                                                               U.S.

238   TRUMP TORONTO MEMBER CORP                                New York, New       Corporation         Vice President   6/2016    1/2017
      (dormant/inactive)                                       York

239   TRUMP VINEYARD ESTATES LLC (vineyard in                  New York, New       Limited Liability   Executive Vice   3/2011    1/2017
      Charlottesville, VA)                                     York                Company             President

240   TRUMP VIRGINIA ACQUISITIONS LLC                          New York, New       Limited Liability   Executive Vice   1/2011    1/2017
      (commercial real estate in Charlottesville,              York                Company             President
      VA)

241   TTTT VENTURE LLC                                         New York, New       Limited Liability   Executive Vice   10/2015   1/2017
                                                               York                Company             President,
                                                                                                       Qualifying
                                                                                                       Manager &
                                                                                                       Treasurer

242   TTTT VENTURE MEMBER CORP (pass-thru                      New York, New       Corporation         Executive Vice   10/2015   1/2017
      company)                                                 York                                    President &
                                                                                                       Treasurer

243   TURNBERRY SCOTLAND LLC (pass-thru                        Turnberry,          Limited Liability   Executive Vice   4/2014    1/2017
      company for Golf Recreation Scotland                     Scotland,           Company             President
      Limited (pass-thru company for SLC                       Outside U.S.
      Turnberry Limited (golf courses and resort)))
                                      Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 22 of 88

#     ORGANIZATION NAME                                        CITY, STATE         ORGANIZATION        POSITION HELD    FROM      TO
                                                                                   TYPE

244   TURNBERRY SCOTLAND MANAGING                              Turnberry,          Corporation         Executive Vice   4/2014    1/2017
      MEMBER CORP (pass-thru company for                       Scotland,                               President
      TURNBERRY SCOTLAND LLC (pass-thru                        Outside U.S.
      company for Golf Recreation Scotland
      Limited (pass-thru company for SLC
      Turnberry Limited (golf courses and
      resort))))

245   TW VENTURE I MANAGING MEMBER CORP                        Palm Beach,         Corporation         Executive Vice   11/2013   1/2017
      (pass-thru company for TW VENTURE I LLC                  Florida                                 President &
      (transportation services))                                                                       Secretary

246   TW VENTURE II LLC (pass-thru company for                 Doonbeg,            Limited Liability   Executive Vice   1/2014    1/2017
      TIGL Ireland Enterprises Limited (golf course            Ireland, Outside    Company             President
      and resort))                                             U.S.

247   TW VENTURE I LLC (transportation services)               Palm Beach,         Limited Liability   Executive Vice   11/2013   1/2017
                                                               Florida             Company             President &
                                                                                                       Secretary

248   TW VENTURE II MANAGING MEMBER CORP                       Doonbeg,            Corporation         Executive Vice   1/2014    1/2017
      (pass-thru company for TW VENTURE II LLC                 Ireland, Outside                        President &
      (pass-thru company for TIGL Ireland                      U.S.                                    Director
      Enterprises Limited (golf course and resort)))

249   UNIT 2502 ENTERPRISES LLC (commercial                    Chicago, Illinois   Limited Liability   Vice President   7/2008    1/2017
      real estate in Chicago, IL)                                                  Company

250   VHPS LLC (unsold lots)                                   Los Angeles,        Limited Liability   Executive Vice   4/2010    1/2017
                                                               California          Company             President

251   WHITE COURSE LLC (management company)                    Miami, Florida      Limited Liability   Executive Vice   3/2012    1/2017
                                                                                   Company             President

252   WHITE COURSE MANAGING MEMBER CORP                        Miami, Florida      Corporation         Executive Vice   3/2012    1/2017
      (pass-thru company for WHITE COURSE LLC                                                          President
      (management company))

253   IT OPERATIONS LLC (F/K/A IT Swimwear LLC)                New York, New       Limited Liability   President,       7/2012    1/2017
                                                               York                Company             Treasurer,
                                                                                                       Secretary

254   IT OPERATIONS MANAGING MEMBER CORP                       New York, New       Corporation         Director,        7/2012    1/2017
      (F/K/A IT Swimwear Managing Member                       York                                    President,
      Corp)                                                                                            Chairman,
                                                                                                       Secretary &
                                                                                                       Treasurer
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 23 of 88

#     ORGANIZATION NAME                                      CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                             TYPE

255   IT APPAREL II LLC                                      New York, New   Limited Liability   President,      11/2012   1/2017
                                                             York            Company             Treasurer,
                                                                                                 Secretary

256   IT APPAREL II MANAGING MEMBER CORP                     New York, New   Corporation         Director,       11/2012   1/2017
                                                             York                                Chairman,
                                                                                                 President,
                                                                                                 Secretary &
                                                                                                 Treasurer

257   IT APPAREL LLC (dormant/inactive)                      New York, New   Limited Liability   President,      4/2011    1/2017
                                                             York            Company             Treasurer &
                                                                                                 Secretary

258   IT APPAREL MEMBER CORP (pass-thru                      New York, New   Corporation         Director,       4/2011    1/2017
      company for IT APPAREL LLC                             York                                President,
      (dormant/inactive))                                                                        Secretary &
                                                                                                 Treasurer

259   IT BABY HOME LLC                                       New York, New   Limited Liability   President,      7/2016    1/2017
                                                             York            Company             Treasurer,
                                                                                                 Secretary

260   IT BABY HOME MEMBER CORP                               New York, New   Corporation         Director,       7/2016    1/2017
                                                             York                                President,
                                                                                                 Chairman &
                                                                                                 Treasurer

261   IT EYEWEAR LLC                                         New York, New   Limited Liability   President,      1/2012    1/2017
                                                             York            Company             Treasurer,
                                                                                                 Secretary

262   IT EYEWEAR MANAGER CORP                                New York, New   Corporation         Director,       1/2012    1/2017
                                                             York                                President,
                                                                                                 Chairman &
                                                                                                 Treasurer

263   IT FASHION JEWELRY LLC                                 New York, New   Limited Liability   President,      7/2016    1/2017
                                                             York            Company             Treasurer, &
                                                                                                 Secretary

264   IT FASHION JEWELRY MEMBER CORP                         New York, New   Corporation         Director,       7/2016    1/2017
                                                             York                                President,
                                                                                                 Chairman &
                                                                                                 Treasurer
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 24 of 88

#     ORGANIZATION NAME                                     CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                            TYPE

265   IT FRAGRANCE LLC                                      New York, New   Limited Liability   President,      1/2012    1/2017
                                                            York            Company             Treasurer,
                                                                                                Secretary

266   IT FRAGRANCE MANAGER CORP                             New York, New   Corporation         Director,       1/2012    1/2017
                                                            York                                President,
                                                                                                Chairman, &
                                                                                                Treasurer

267   IT HANDBAGS LLC                                       New York, New   Limited Liability   President,      5/2010    1/2017
                                                            York            Company             Treasurer

268   IT HANDBAGS MEMBER CORP                               New York, New   Corporation         Director,       5/2010    1/2017
                                                            York                                President,
                                                                                                Chairman,
                                                                                                Treasurer

269   IT HOME MARKS LLC                                     New York, New   Limited Liability   President,      12/2012   1/2017
                                                            York            Company             Treasurer,
                                                                                                Secretary

270   IT HOME MARKS MANAGING MEMBER CORP                    New York, New   Corporation         Director,       12/2012   1/2017
                                                            York                                President,
                                                                                                Chairman,
                                                                                                Treasurer, &
                                                                                                Secretary

271   IT INTERNATIONAL I LLC (dormant/inactive)             New York, New   Limited Liability   President,      8/2016    1/2017
                                                            York            Company             Treasurer,
                                                                                                Secretary

272   IT INTERNATIONAL I MEMBER CORP (pass-                 New York, New   Limited Liability   Director,       8/2016    1/2017
      thru company for IT INTERNATIONAL LLC                 York            Company             President,
      (dormant/inactive))                                                                       Chairman,
                                                                                                Treasurer,
                                                                                                Secretary

273   IT OUTERWEAR LLC (dormant/inactive)                   New York, New   Limited Liability   President &     10/2010   1/2017
                                                            York            Company             Secretary

274   IT OUTWEAR MEMBER CORP (pass-thru                     New York, New   Corporation         Director,       10/2010   1/2017
      company for IT OUTERWEAR LLC                          York                                President,
      (dormant/inactive))                                                                       Chairman,
                                                                                                Treasurer

275   IT PROMOTIONS LLC                                     New York, New   Limited Liability   President &     2/2011    1/2017
                                                            York            Company             Treasurer
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 25 of 88

#     ORGANIZATION NAME                                      CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                             TYPE

276   IVANKA TRUMP MARKS LLC                                 New York, New   Limited Liability   President       11/2009   1/2017
                                                             York            Company

277   IVANKA MARKS HOLDING CORP                              New York, New   Corporation         President &     6/2016    1/2017
                                                             York                                Director

278   IVANKA TRUMP MARKS II LLC                              New York, New   Limited Liability   President,      4/2010    1/2017
                                                             York            Company             Treasurer

279   IVANKA TRUMP MARKS II MEMBER CORP                      New York, New   Corporation         Director,       5/2009    1/2017
                                                             York                                Chairman,
                                                                                                 President,
                                                                                                 Treasurer, &
                                                                                                 Secretary

280   IVANKA TRUMP MARKS JEWELRY LLC                         New York, New   Limited Liability   President,      6/2006    1/2017
                                                             York            Company             Treasurer

281   IVANKA TRUMP MARKS JEWELRY MEMBER                      New York, New   Corporation         Director,       4/2010    1/2017
      CORP                                                   York                                President,
                                                                                                 Chairman &
                                                                                                 Treasurer

282   IT COLLECTION LLC                                      New York, New   Limited Liability   President,      5/2013    1/2017
                                                             York            Company             Secretary,
                                                                                                 Treasurer

283   502 6G LLC                                             New York, New   Limited Liability   President,      11/2015   5/2017
                                                             York            Company             Secretary,
                                                                                                 Treasurer

284   IHOLDINGS CORP (dormant/inactive)                      New York, New   Corporation         President       7/2006    4/2017
                                                             York

285   IHOLDINGS MADISON LLC                                  New York, New   Limited Liability   President       7/2006    5/2017
      (dormant/inactive)                                     York            Company

286   IT INVESTORS I LLC (held investments)    See Endnote                   Limited Liability   President,      5/2014    1/2017
                                                                             Company             Treasurer,
                                                                                                 Secretary

287   IT PROPERTIES HOLDING COMPANY LLC                                      Limited Liability   President &     2/2010    5/2017
      (held investments)                                                     Company             Treasurer

288   IT WWW PUB LLC                                         New York, New   Limited Liability   President,      1/2016    5/2017
                                                             York            Company             Secretary,
                                                                                                 Treasurer
                                      Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 26 of 88

#      ORGANIZATION NAME                                            CITY, STATE     ORGANIZATION        POSITION HELD   FROM              TO
                                                                                    TYPE

289    IT WWW WRI LLC (received writer fee for                      New York, New   Limited Liability   President,      1/2016            5/2017
       Women Who Work)                                              York            Company             Secretary,
                                                                                                        Treasurer

290    ITJK INVESTORS LLC (held investments)                        New York, New   Limited Liability   President,      4/2014            5/2017
                                                                    York            Company             Secretary,
                                                                                                        Treasurer

291    GCM Trust                                                    New York, New   Trust               Trustee         4/2014            12/2016
                                                                    York

292    WWW Operations LLC                                           New York, New   Limited Liability   President,      1/2016            5/2017
                                                                    York            Company             Secretary,
                                                                                                        Treasurer



2. Filer's Employment Assets & Income and Retirement Accounts
#      DESCRIPTION                                                  EIF             VALUE               INCOME TYPE     INCOME
                                                                                                                        AMOUNT

1      IT OPERATIONS LLC (all assets reflected in     See Endnote   N/A                                 Rent or         Over $5,000,000
       the Ivanka M. Trump Business Trust)                                                              Royalties
       (income for period January 1, 2016 - March
       8, 2017)

2      Ivanka M. Trump Business Trust (IT             See Endnote   N/A             Over                Rent or         $1,000,001 -
       Collection LLC, Holding Company in New                                       $50,000,000         Royalties       $5,000,000
       York NY)) (income for period March 9, 2017 -
       May 31, 2017)

2.1    Ivanka Trump Marks LLC (Owner of Various       See Endnote   N/A
       Trademarks; New York, NY)

2.2    Ivanka Trump Marks Jewelry LLC (Licensing                    N/A
       contracts for fine jewelry; New York, NY)

2.3    IT Operations LLC (Management Company                        N/A
       in New York, NY)

2.4    IT Operations Managing Member Corp                           N/A
       (Pass-Thru Company for IT Operations LLC;
       New York, NY)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 27 of 88

#      DESCRIPTION                                                 EIF        VALUE          INCOME TYPE   INCOME
                                                                                                           AMOUNT

2.5    IT Apparel II LLC (Licensing contracts for                  N/A
       clothing and cold weather accessories; New
       York NY)

2.6    IT Apparel II Managing Member Corp (Pass-     See Endnote   N/A
       Thru Company for IT Apparel II LLC; New
       York, NY)

2.7    IT Baby Home LLC (Licensing contracts for                   N/A
       baby products - bedding giftables; New
       York, NY)

2.8    IT Baby Home Member Corp (Pass-Thru           See Endnote   N/A
       Company for IT Baby Home LLC; New York,
       NY)

2.9    IT Eyewear LLC (Licensing contracts for                     N/A
       sunglasses; New York, NY)

2.10   IT Eyewear Manager Corp (Pass-Thru            See Endnote   N/A
       Company for IT Eyewear LLC; New York, NY)

2.11   IT Fashion Jewelry LLC (Licensing contracts                 N/A
       for costume jewelry; New York, NY)

2.12   IT Fashion Jewelry Member Corp (Pass-Thru     See Endnote   N/A
       Company for IT Fashion Jewelry LLC; New
       York, NY)

2.13   IT Fragrance LLC (Licensing contracts for                   N/A
       perfume; New York, NY)

2.14   IT Fragrance Manager Corp (Pass-Thru          See Endnote   N/A
       Company for IT Fragrance LLC; New York,
       NY)

2.15   IT Handbags, LLC (Licensing contracts for                   N/A
       handbags; New York, NY)

2.16   IT Handbags Member Corp (Pass-Thru            See Endnote   N/A
       Company for IT Handbags LLC; New York,
       NY)

2.17   IT Home Marks LLC (Licensing contracts for                  N/A
       home products; New York, NY)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 28 of 88

#      DESCRIPTION                                                EIF         VALUE          INCOME TYPE       INCOME
                                                                                                               AMOUNT

2.18   IT Home Marks Managing Member Corp           See Endnote   N/A
       (Pass-Thru Company for IT Home Marks
       LLC; New York, NY)

2.19   IT Promotions LLC (Event Promoter in New                   N/A
       York, NY)

2.20   Ivanka Marks Holding Corp (Pass-Thru         See Endnote   N/A
       Company for Ivanka Trump Marks LLC; New
       York, NY)

2.21   Ivanka Trump Marks II LLC (Licensing                       N/A
       contracts for shoes; New York, NY)

2.22   Ivanka Trump Marks II Member Corp (Pass-     See Endnote   N/A
       Thru Company for Ivanka Trump Marks II
       LLC; New York, NY)

2.23   Ivanka Trump Marks Jewelry Member Corp       See Endnote   N/A
       (Pass-Thru Company for Ivanka Trump
       Marks Jewelry LLC; New York, NY)

3      TRUMP PAYROLL CORP (New York, NY)            See Endnote   N/A                        Salary and        $2,537,738
                                                                                             Severance

4      Ivanka OPO LLC (Investment in Trump Old      See Endnote   N/A         $5,000,001 -   Hotel-Related     $2,423,475
       Post Office LLC; Washington, DC)                                       $25,000,000    Revenue

5      T International Realty LLC (Luxury Real      See Endnote   N/A         $1,000,001 -   Commissions       $671,068
       Estate Brokerage Company; New York, NY)                                $5,000,000

6      TTT Consulting LLC (Consulting, licensing,   See Endnote   N/A         $5,000,001 -   Consulting Fees   $913,847
       and management services for real estate                                $25,000,000
       projects; New York, NY)

7      TTT Consulting LLC (Consulting, licensing,   See Endnote   N/A                        Guaranteed        $14,374
       and management services for real estate                                               Payment
       projects; New York, NY)

8      TTTT Venture LLC (Royalties and licensing    See Endnote   N/A         $5,000,001 -   Rent or           $100,893
       for real estate projects; New York, NY)                                $25,000,000    Royalties and
                                                                                             Management
                                                                                             Fees

8.1    4T Holdings One LLC (Holding company for
       future interests in Trump hotel manager
       entities; New York, NY)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 29 of 88

#      DESCRIPTION                                                  EIF       VALUE          INCOME TYPE    INCOME
                                                                                                            AMOUNT

8.2    4T Holdings Two LLC (Holding company for
       future interests in Scion and Szion manager
       entities; New York, NY)

8.3    DT Tower Gurgaon LLC (license deal in India;
       New York, NY)

8.4    DT Bali Golf Manager LLC (management of
       future golf course; New York, NY)

8.5    DT Bali Hotel Manager LLC (Management of
       future hotel; New York, NY)

8.6    DT Bali Technical Services Manager LLC
       (Technical services for hotel construction;
       New York, NY)

8.7    DT Dubai II Golf Manager LLC (Management
       of future golf course; New York, NY)

8.8    DT Lido Golf Manager LLC (Management of
       future golf course; New York, NY)

8.9    DT Lido Hotel Manager LLC (Management of
       Future Hotel; New York, NY)

8.10   DT Lido Technical Services Manager LLC
       (Technical services for hotel construction;
       New York, NY)

9      IT WWW PUB LLC (Book Contract with             See Endnote   N/A
       Penguin Random House LLC; New York, NY)

9.1    "Women Who Work," Penguin Random                             N/A                      Advance        $787,500
       House LLC (value not readily ascertainable)

10     WWW OPERATIONS LLC (holds URL                                N/A                                     None (or less
       associated with Women Who Work; value                                                                than $201)
       not readily ascertainable; New York, NY)

11     "The Trump Card," Simon & Schuster (value                    N/A                                     None (or less
       not readily ascertainable)                                                                           than $201)

12     GCM Trust (Trustee; New York, NY)              See Endnote   N/A                      Trustee Fees   $50,000

13     Trump Payroll Corp, 401(k) plan                              No
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 30 of 88

#      DESCRIPTION                                               EIF             VALUE              INCOME TYPE        INCOME
                                                                                                                       AMOUNT

13.1   Fidelity Overseas Fund (FOSFX)                            Yes             $50,001 -                             None (or less
                                                                                 $100,000                              than $201)

13.2   Fidelity Growth Company (FDGRX)                           Yes             $50,001 -                             None (or less
                                                                                 $100,000                              than $201)

13.3   Fidelity Value Fund (FDVLX)                               Yes             $50,001 -                             None (or less
                                                                                 $100,000                              than $201)

13.4   Fidelity Dividend Growth Fund (FDGFX)                     Yes             $50,001 -                             None (or less
                                                                                 $100,000                              than $201)

13.5   Fidelity Freedom 2040 Fund (FFFFX)                        Yes             $50,001 -                             None (or less
                                                                                 $100,000                              than $201)

14     Screen Actors Guild - Producers Pension                   N/A                                                   None (or less
       Plan (defined benefit pension plan - value                                                                      than $201)
       not readily ascertainable)

15     Universal City Studios LLC (Residuals from                N/A             None (or less      Rent or            $201 - $1,000
       appearances on Saturday Night Live and                                    than $1,001)       Royalties
       Late Night with Jimmy Fallon)

16     MGM/Mark Burnett Productions (Residuals                   N/A                                                   None (or less
       from The Apprentice) (value not readily                                                                         than $201)
       ascertainable)



3. Filer's Employment Agreements and Arrangements
#      EMPLOYER OR PARTY                                         CITY, STATE     STATUS AND TERMS                                      DATE

1      Trump Payroll Corp.                                       New York, New   Continued participation in employer-sponsored         10/2006
                                                                 York            401(k) plan. The underlying assets of this plan are
                                                                                 described in section 2.
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 31 of 88

#      EMPLOYER OR PARTY                                     CITY, STATE     STATUS AND TERMS                                            DATE

2      T International Realty LLC                            New York, New   Following consultation with OGE, in order to reduce         1/2017
                                                             York            filer's interest in the performance of the business,
                                                                             filer's right to a share of the profits from this entity
                                                                             was converted to a guaranteed fixed payment of
                                                                             $100,000 per year from T International Realty. To
                                                                             reduce filer's interest in the ability and willingness of
                                                                             T International Realty to make this payment, the
                                                                             payment was cross-guaranteed by TTT Consulting LLC
                                                                             and TTTT Venture LLC. Filer has resigned from all
                                                                             positions in this entity.

3      TTT Consulting, LLC                                   New York, New   Following consultation with OGE, in order to reduce         1/2017
                                                             York            filer's interest in the performance of the business,
                                                                             filer's right to a share of the profits from this entity
                                                                             was converted to a guaranteed fixed payment of
                                                                             $600,000 per year from TTT Consulting, LLC. To
                                                                             reduce filer's interest in the ability and willingness of
                                                                             TTT Consulting, LLC to make this payment, the
                                                                             payment was cross-guaranteed by TIR International
                                                                             Realty LLC and TTTT Venture LLC. Filer has resigned
                                                                             from all positions in this entity.

4      TTTT Venture LLC                                      New York, New   Following consultation with OGE, in order to reduce         1/2017
                                                             York            filer's interest in the performance of the business,
                                                                             filer's right to a share of the profits from this entity
                                                                             was converted to a guaranteed fixed payment of
                                                                             $800,000 per year from TTTT Venture, LLC. To reduce
                                                                             filer's interest in the ability and willingness of TTTT
                                                                             Venture, LLC to make this payment, the payment was
                                                                             cross-guaranteed by TIR International Realty LLC and
                                                                             TTT Consulting, LLC. Filer has resigned from all
                                                                             positions in this entity.

5      Ivanka M. Trump Business Trust                        New York, New   In March 2017, filer transferred the assets identified      3/2017
                                                             York            in Line 2 of Section 2 into a trust. Filer previously
                                                                             resigned her positions in such entities in January
                                                                             2017. Prior to resigning her positions, filer managed
                                                                             the business conducted by such entities.

6      Screen Actors Guild                     See Endnote   Bethesda,       Filer participates in the Screen Actors Guild -             10/2007
                                                             Maryland        Producers Pension Plan. She will receive a monthly
                                                                             payment upon retirement once her pension vests.



4. Filer's Sources of Compensation Exceeding $5,000 in a Year
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 32 of 88

#     SOURCE NAME                                               CITY, STATE     BRIEF DESCRIPTION OF DUTIES

1     Ivanka M. Trump Business Trust (now holds                 New York, New   In March 2017, filer transferred the assets identified in Line 2 of Section
      IT OPERATIONS LLC)                                        York            2 into a trust. Filer previously resigned her positions in such entities in
                                                                                January 2017. Prior to resigning her positions, filer managed the
                                                                                business conducted by such entities.

2     Penguin Random House LLC                                  New York, New   Advance for "Women Who Work"
                                                                York

3     T International Realty LLC                                New York, New   Consulting work for luxury real estate brokerage company
                                                                York

4     TTT Consulting LLC                                        New York, New   Consulting, licensing, and management services for real estate projects
                                                                York

5     TTTT Venture LLC                                          New York, New   Royalties and licensing for real estate projects
                                                                York

6     Trump Payroll Corp.                                       New York, New   Consulting, licensing, and management services for real estate projects
                                                                York

7     GCM Trust                                                 New York, New   Served as trustee
                                                                York

8     Ivanka OPO LLC                                            Washington,     Development and management of hotel in Washington DC
                                                                District of
                                                                Columbia



5. Spouse's Employment Assets & Income and Retirement Accounts
#     DESCRIPTION                                               EIF             VALUE               INCOME TYPE        INCOME
                                                                                                                       AMOUNT

1     Westminster Management, LLC                               N/A             $1,000,001 -        Gross
      (Management Company; New York, NY)                                        $5,000,000          Management
                                                                                                    Fee Income,
                                                                                                    Wages, and
                                                                                                    Dividends

2     Observer Media, LLC (New York Observer &    See Endnote   N/A             None (or less       Newspaper-
      Commercial Observer; New York, NY)                                        than $1,001)        Related
                                                                                                    Revenue
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 33 of 88

6. Other Assets and Income
#      DESCRIPTION                                               EIF          VALUE           INCOME TYPE     INCOME
                                                                                                              AMOUNT

1      Trust #1                                                  No

1.1    ELMWOOD V. ASSOCIATES, LP (Commercial       See Endnote   N/A          $100,001 -      Rent or         $100,001 -
       Real Estate in Chicago, IL)                                            $250,000        Royalties       $1,000,000

1.2    LANDINGS APARTMENTS, LLC (Commercial        See Endnote   N/A          $50,001 -       Rent or         $50,001 -
       Real Estate in Chicago, IL)                                            $100,000        Royalties       $100,000

1.3    OAKWOOD GARDEN ASSOCIATES, LLC              See Endnote   N/A          $1,000,001 -    Rent or         $1,000,001 -
       (Commercial Real Estate in Chicago, IL)                                $5,000,000      Royalties       $5,000,000

1.4    WALLKILL APARTMENTS ASSOCIATES, LP          See Endnote   N/A          $500,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                $1,000,000      Royalties       $1,000,000

1.5    VILLAGE KF 4-9-10 ASSOCIATES, LLC           See Endnote   N/A          $5,000,001 -    Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                              $25,000,000     Royalties       $1,000,000

1.6    PUCK BUILDING, LP (Commercial Real Estate   See Endnote   N/A          $5,000,001 -    Rent or         $1,000,001 -
       in New York, NY)                                                       $25,000,000     Royalties       $5,000,000

1.7    U.S. bank account #1 (checking)                           N/A          $250,001 -                      None (or less
                                                                              $500,000                        than $201)

1.8    BRUCKNER PLAZA CENTER, LLC (Commercial      See Endnote   N/A          None (or less   Capital Gains   Over $5,000,000
       Real Estate in New York, NY)                                           than $1,001)    Rent or
                                                                                              Royalties

1.9    Development Corporation for Israel/Israel   See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
       Bonds                                                                  than $1,001)

2      Trust #2                                                  No

2.1    ELMWOOD V. ASSOCIATES, LP (Commercial       See Endnote   N/A          $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                            $50,000         Royalties       $50,000

2.2    LANDINGS APARTMENTS, LLC (Commercial        See Endnote   N/A          $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                            $50,000         Royalties       $50,000

2.3    OAKWOOD GARDEN ASSOCIATES, LLC              See Endnote   N/A          $250,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                $500,000        Royalties       $1,000,000

2.4    WALLKILL APARTMENTS ASSOCIATES, LP          See Endnote   N/A          $100,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                $250,000        Royalties       $1,000,000
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 34 of 88

#      DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

2.5    VILLAGE KF 4-9-10 ASSOCIATES, LLC               See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $5,000,000      Royalties       $1,000,000

2.6    K GAIA VILLAGE 1 ASSOCIATES, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $1,000,000      Royalties       $1,000,000

2.7    K GAIA VILLAGE 2 ASSOCIATES, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $1,000,000      Royalties       $1,000,000

2.8    KUSHNER PHILADELPHIA MEMBER, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in Philadelphia, PA)                           $1,000,000      Royalties       $1,000,000

2.9    PINECREST LAKE BUILDING ASSOCIATES, LP                        N/A       $100,001 -                      None (or less
       (Undeveloped Real Estate in Tobyhanna                                   $250,000                        than $201)
       Township, PA)

2.10   PUCK BUILDING, LP (Commercial Real Estate       See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       in New York, NY)                                                        $5,000,000      Royalties       $1,000,000

2.11   PUCK RESIDENTIAL ASSOCIATES, LLC                See Endnote   N/A       $5,000,001 -    Rent or         Over $5,000,000
       (Residential Real Estate in New York, NY and                            $25,000,000     Royalties
       Leonia, NJ)

2.12   715 PARK AVENUE ASSOCIATES, LP                                N/A       $250,001 -      Rent or         $5,001 - $15,000
       (Residential Real Estate in New York, NY)                               $500,000        Royalties

2.13   SIXTY ONE ASSOCIATES, LLC (Commercial                         N/A       $1,000,001 -    Rent or         $50,001 -
       Real Estate in New York, NY)                                            $5,000,000      Royalties       $100,000

2.14   WESTMIN MAD ASSOCIATES,                                       N/A       $250,001 -      Rent or         $15,001 -
       L.L.C.(Commercial Real Estate in New York,                              $500,000        Royalties       $50,000
       NY)

2.15   WEST END BUILDING ASSOCIATES, LLC                             N/A       $1,000,001 -    Rent or         $15,001 -
       (Residential Real Estate in New York, NY)                               $5,000,000      Royalties       $50,000

2.16   WESTMINSTER LINDEN, LLC (Residential Real                     N/A       $250,001 -      Rent or         $15,001 -
       Estate in Brooklyn, NY)                                                 $500,000        Royalties       $50,000

2.17   U.S. money market account #1 (cash)                           N/A       $15,001 -                       None (or less
                                                                               $50,000                         than $201)

2.18   COLUMBIA WINDOWS, LLC (Investment in            See Endnote   N/A       None (or less   Gross Revenue   $549,429
       DHD Windows and Doors; New York, NY)                                    than $1,001)

2.19   DJNJ FRITO, LLC (Insurance brokerage            See Endnote   N/A       None (or less   Brokerage       $17,375
       license; Florham Park, NJ)                                              than $1,001)    Commissions
                                         Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 35 of 88

#      DESCRIPTION                                                   EIF        VALUE           INCOME TYPE     INCOME
                                                                                                                AMOUNT

2.20   KF- C-III RECOVERY FUND II, LLC (Financial      See Endnote   No         None (or less   Capital Gains   $201 - $1,000
       investments in C-III Recovery Fund II, LP;                               than $1,001)    Interest
       Irving, TX)

2.21   KF- Faire Fund II, LLC (Financial investments   See Endnote   No         None (or less   Capital Gains   $5,001 - $15,000
       in The Faire Fund II, LP; Israel)                                        than $1,001)

2.22   KF- Park Street Capital PE Fund IX, LLC         See Endnote   No         None (or less   Capital Gains   $15,001 -
       (Financial investments in Park Street Capital                            than $1,001)    Interest        $50,000
       Private Equity Fund; Boston, MA)

2.23   KF- RCG Longview Debt Fund IV, LLC              See Endnote   No         None (or less   Interest        $5,001 - $15,000
       (Financial investments in RCG Longview                                   than $1,001)    Capital Gains
       Debt Fund IV LP; New York, NY)

2.24   LW Investors, LLC (Financial investments in     See Endnote   No         None (or less   Interest        $15,001 -
       Leeds Equity Partners IV, LP; New York, NY)                              than $1,001)    Capital Gains   $50,000

2.25   Kushner Media Ventures, LLC (Financial          See Endnote   No         None (or less   Interest        $100,001 -
       investments in Thrive Capital Partners, LLC;                             than $1,001)    Capital Gains   $1,000,000
       New York, NY)

2.26   Thrive Capital Partners II, LP (Financial       See Endnote   No         None (or less   Interest        $100,001 -
       investments; New York, NY)                                               than $1,001)    Capital Gains   $1,000,000

2.27   Thrive Capital Partners III, LP (Financial      See Endnote   No         None (or less   Capital Gains   $1,000,001 -
       investments; New York, NY)                                               than $1,001)    Interest        $5,000,000

2.28   Claremount IV Associates LP (Financial          See Endnote   No         None (or less   Capital Gains   $201 - $1,000
       Investments; New York, NY)                                               than $1,001)

3      Trust #3                                                      No

3.1    30 FLORHAM ASSOCIATES, LLC (Commercial                        N/A        $250,001 -      Rent or         $100,001 -
       Real Estate in Florham Park, NJ)                                         $500,000        Royalties       $1,000,000

3.2    CK BERGEN ASSOCIATES, LLC (Industrial Real      See Endnote   N/A        $1,000,001 -    Rent or         $100,001 -
       Estate in Fairlawn & Oakland, NJ)                                        $5,000,000      Royalties       $1,000,000

3.3    COLTS NECK BUILDING ASSOCIATES, LLC                           N/A        $500,001 -                      None (or less
       (Undeveloped Real Estate in Colts Neck, NJ)                              $1,000,000                      than $201)

3.4    COLUMBIA CORPORATE CENTER                                     N/A        $1,000,001 -    Rent or         $1,000,001 -
       DEVELOPMENT ASSOCIATES, LLC                                              $5,000,000      Royalties       $5,000,000
       (Commercial Real Estate in Florham Park, NJ)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 36 of 88

#      DESCRIPTION                                                    EIF     VALUE              INCOME TYPE     INCOME
                                                                                                                 AMOUNT

3.5    DEER TREE BUILDING ASSOCIATES, LLC                             N/A     $1,001 - $15,000                   None (or less
       (Undeveloped Real Estate in Hardyston                                                                     than $201)
       Township, NJ)

3.6    FLORHAM PARK REALTY ASSOCIATES, LLC                            N/A     $1,000,001 -       Rent or         $100,001 -
       (Commercial Real Estate in Florham Park, NJ)                           $5,000,000         Royalties       $1,000,000

3.7    LANDINGS AT CASPIAN POINTE, LLC                                N/A     $250,001 -                         None (or less
       (Undeveloped Real Estate in Atlantic City, NJ)                         $500,000                           than $201)

3.8    LIVINGSTON HILLS BUILDING ASSOCIATES,                          N/A     $50,001 -          Income from     $372,000
       LLC (Real Estate Under Construction in                                 $100,000           Sale of
       Livingston, NJ)                                                                           Townhome
                                                                                                 Units

3.9    MAGNOLIA BUILDING ASSOCIATES, LLC                              N/A     $1,001 - $15,000                   None (or less
       (Undeveloped Assets in Pemberton, NJ)                                                                     than $201)

3.10   MONMOUTH MALL, LLC (Commercial Real              See Endnote   N/A     None (or less      Rent or         Over $5,000,000
       Estate in Eatontown, NJ)                                               than $1,001)       Royalties
                                                                                                 Capital Gains

3.11   MONMOUTH MALL 2, LLC (Commercial Real            See Endnote   N/A     None (or less      Rent or         $1,000,001 -
       Estate in Eatontown, NJ)                                               than $1,001)       Royalties       $5,000,000
                                                                                                 Capital Gains

3.12   B MONMOUTH MALL, LLC (Commercial Real            See Endnote   N/A     None (or less      Rent or         $1,000,001 -
       Estate in Eatontown, NJ)                                               than $1,001)       Royalties       $5,000,000
                                                                                                 Capital Gains

3.13   ROUTE 10 ASSOCIATES, LLC (Industrial Real        See Endnote   N/A     $500,001 -         Rent or         $100,001 -
       Estate in Whippany, NJ)                                                $1,000,000         Royalties       $1,000,000

3.14   SIXTY-SIX WEST ASSOCIATES, LLC                                 N/A     $250,001 -         Rent or         $50,001 -
       (Commercial Real Estate in Livingston, NJ)                             $500,000           Royalties       $100,000

3.15   SKYLINE KUSHNER, LLC (Residential Real           See Endnote   N/A     $500,001 -         Rent or         $100,001 -
       Estate in Hasbrouck Heights & Lodi, NJ)                                $1,000,000         Royalties       $1,000,000

3.16   THE LANDINGS AT HARBORSIDE, LLC                                N/A     $1,000,001 -       Rent or         $15,001 -
       (Residential Real Estate and Undeveloped                               $5,000,000         Royalties       $50,000
       Assets in Perth Amboy, NJ)

3.17   VREELAND AVENUE ASSOCIATES, LLC                  See Endnote   N/A     $500,001 -         Rent or         $100,001 -
       (Commercial Real Estate in Florham Park, NJ)                           $1,000,000         Royalties       $1,000,000
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 37 of 88

#      DESCRIPTION                                                   EIF      VALUE           INCOME TYPE     INCOME
                                                                                                              AMOUNT

3.18   55 CHALLENGER ROAD ASSOCIATES, LLC              See Endnote   N/A      $1,000,001 -    Rent or         $100,001 -
       (Commercial Real Estate in Ridgefield Park,                            $5,000,000      Royalties       $1,000,000
       NJ)

3.19   LINDENLAWN APARTMENT ASSOCIATES, LLC                          N/A      $500,001 -      Rent or         $15,001 -
       (Residential Real Estate in Englewood, NJ)                             $1,000,000      Royalties       $50,000

3.20   MERRITT ASSOCIATES, LLC (Residential Real                     N/A      $50,001 -       Rent or         $5,001 - $15,000
       Estate in Dumont, NJ)                                                  $100,000        Royalties

3.21   CRANBURY BUILDING ASSOCIATES, LLC               See Endnote   N/A      None (or less   Gross income    $75,000
       (Undeveloped real estate in Cranbury, NJ)                              than $1,001)    from sale of
                                                                                              land

3.22   GALLANT FUNDING, LP (Lending to real            See Endnote   N/A      None (or less   Interest        $15,001 -
       estate developers for real estate projects in                          than $1,001)                    $50,000
       New York and New Jersey)

3.23   NEW JERSEY RENEWABLE POWER, LLC                 See Endnote   N/A      None (or less   Solar power     $33,457
       (operation of solar panels; Florham Park, NJ)                          than $1,001)    income

3.24   KF-CENTERVIEW, LLC (Financial investments       See Endnote   No       None (or less   Capital Gains   $5,001 - $15,000
       in Centerview Capital, LP; New York, NY)                               than $1,001)

3.25   SQ ASSOCIATES, LLC (Financial investments       See Endnote   No       None (or less   Capital Gains   $15,001 -
       in Square Mile Partners, LP; New York, NY)                             than $1,001)                    $50,000

3.26   SQK ASSOCIATES, LLC (Financial investments      See Endnote   No       None (or less   Capital Gains   $5,001 - $15,000
       in Square Mile Partners, LP; New York, NY)                             than $1,001)

3.27   CK LIVINGSTON ESPLANADE, LLC                    See Endnote   N/A      None (or less   Hotel revenue   $661,123
       (Westminster Hotel; Livingston, NJ)                                    than $1,001)

4      Trust #4                                                      No

4.1    184 KENT ASSOCIATES, LLC (Residential Real      See Endnote   N/A      $250,001 -      Rent or         $15,001 -
       Estate in Brooklyn, NY)                                                $500,000        Royalties       $50,000

4.2    CHATHAM HILL ASSOCIATES, LLC                    See Endnote   N/A      $250,001 -      Rent or         $100,001 -
       (Residential Real Estate in Chatham, NJ)                               $500,000        Royalties       $1,000,000

4.3    ELMWOOD V. ASSOCIATES, LP (Commercial           See Endnote   N/A      $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                            $50,000         Royalties       $50,000

4.4    LANDINGS APARTMENTS, LLC (Commercial            See Endnote   N/A      $250,001 -      Rent or         $100,001 -
       Real Estate in Chicago, IL)                                            $500,000        Royalties       $1,000,000
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 38 of 88

#      DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

4.5    GELLERT 80 WEST END, LLC (Residential and       See Endnote   N/A       $1,000,001 -    Rent or         $1,000,001 -
       Commercial Real Estate in Long Branch, NJ                               $5,000,000      Royalties       $5,000,000
       and Astoria, NY)

4.6    GOWAN ASSOCIATES, LLC (Undeveloped              See Endnote   N/A       $250,001 -      Rent or         $2,501 - $5,000
       Real Estate in Brooklyn, NY)                                            $500,000        Royalties

4.7    IROQOUIS PROPERTIES, LP (Residential Real       See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in New York, NY)                                                 $5,000,000      Royalties       $1,000,000

4.8    K 26 JOURNAL SQUARE, LLC (Commercial            See Endnote   N/A       $50,001 -       Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $100,000        Royalties       $50,000

4.9    K 30 JOURNAL SQUARE, LLC (Undeveloped           See Endnote   N/A       $1,000,001 -    Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $5,000,000      Royalties       $50,000

4.10   K ASTORIA, LLC (Residential Real Estate in      See Endnote   N/A       $500,001 -      Rent or         $50,001 -
       Astoria, NY)                                                            $1,000,000      Royalties       $100,000

4.11   K STONEHAGE VILLAGE 1 ASSOCIATES, LLC           See Endnote   N/A       $100,001 -      Rent or         $15,001 -
       (Residential Real Estate in New York, NY)                               $250,000        Royalties       $50,000

4.12   VILLAGE KF 2 KM, LLC (Residential Real          See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in New York, NY)                                                 $5,000,000      Royalties       $1,000,000

4.13   VILLAGE KF 4-9-10 ASSOCIATES, LP                See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $5,000,000      Royalties       $1,000,000

4.14   65 BAY, LLC (f/k/a GAIA JC, LLC) (Residential   See Endnote   N/A       $1,000,001 -    Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $5,000,000      Royalties       $50,000

4.15   K ONE JOURNAL SQUARE, LLC (Undeveloped          See Endnote   N/A       None (or less   Capital Gains   $1,000,001 -
       Real Estate in Jersey City, NJ)                                         than $1,001)                    $5,000,000

4.16   KC DUMBO HOTEL, LLC (Option to Purchase         See Endnote   N/A       $1,000,001 -                    None (or less
       Commercial Real Estate in Brooklyn, NY)                                 $5,000,000                      than $201)

4.17   KC DUMBO OFFICE, LLC (Commercial Real           See Endnote   N/A       $5,000,001 -    Rent or         $50,001 -
       Estate in Brooklyn, NY)                                                 $25,000,000     Royalties       $100,000

4.18   KF MIDDLE RIVER, LLC (Residential Real          See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in Middle River & Essex, MD)                                     $5,000,000      Royalties       $1,000,000

4.19   KF WESTWOOD PARTNER, LLC (Residential           See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       Real Estate in Westwood & River Vale, NJ)                               $1,000,000      Royalties       $1,000,000

4.20   KF-BLS MEMBER, LLC (Residential Real            See Endnote   N/A       $500,001 -      Rent or         $50,001 -
       Estate in Brooklyn, NY)                                                 $1,000,000      Royalties       $100,000
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 39 of 88

#      DESCRIPTION                                                   EIF      VALUE              INCOME TYPE   INCOME
                                                                                                               AMOUNT

4.21   PUCK BUILDING, LP (Commercial Real Estate       See Endnote   N/A      $5,000,001 -       Rent or       $100,001 -
       in New York, NY)                                                       $25,000,000        Royalties     $1,000,000

4.22   ROUTE 10 ASSOCIATES, LLC (Industrial Real       See Endnote   N/A      $100,001 -         Rent or       $15,001 -
       Estate in Whippany, NJ)                                                $250,000           Royalties     $50,000

4.23   STATE TOWER OF SYRACUSE ASSOCIATES,             See Endnote   N/A      $50,001 -          Rent or       $15,001 -
       LLC (Residential Real Estate in Leonia, NJ)                            $100,000           Royalties     $50,000

4.24   TIMES SQUARE ASSOCIATES, LLC                    See Endnote   N/A      $5,000,001 -       Rent or       $1,000,001 -
       (Commercial Real Estate in New York, NY)                               $25,000,000        Royalties     $5,000,000

4.25   WARREN AT BAY ASSOCIATES, LLC                   See Endnote   N/A      $100,001 -         Rent or       $2,501 - $5,000
       (Commercial Real Estate in Jersey City, NJ)                            $250,000           Royalties

4.26   WT 25 COLUMBIA, LLC (Real Estate Under          See Endnote   N/A      $250,001 -                       None (or less
       Construction in Brooklyn, NY)                                          $500,000                         than $201)

4.27   115 EAST 87, LLC (Contingent right to                         N/A      $250,001 -                       None (or less
       ownership interest in Residential Real Estate                          $500,000                         than $201)
       in New York, NY)

4.28   80 ML, LLC (Commercial Real Estate in New       See Endnote   N/A      $100,001 -         Rent or       $15,001 -
       York, NY)                                                              $250,000           Royalties     $50,000

4.29   KF-WIP CO. INVESTORS I, LLC (Industrial Real                  N/A      $15,001 -          Rent or       $50,001 -
       Estate in Middletown, PA)                                              $50,000            Royalties     $100,000

4.30   KKC ASSOCIATES, LLC (Residential Real           See Endnote   N/A      $1,001 - $15,000                 None (or less
       Estate in Kansas City, MO)                                                                              than $201)

4.31   STONE 16 ASSOCIATES, LLC (Residential Real      See Endnote   N/A      $500,001 -         Rent or       $50,001 -
       Estate in New York, NY)                                                $1,000,000         Royalties     $100,000

4.32   P.V. DEVELOPMENT, LLC (Undeveloped Real         See Endnote   N/A      $500,001 -         Interest      $1,001 - $2,500
       Estate in Long Branch, NJ)                                             $1,000,000

4.33   FLATBUSH 340 LENDER, LLC (Loan                  See Endnote   N/A      $250,001 -         Interest      $100,001 -
       Receivable from 9 Dekalb Owner LLC;                                    $500,000                         $1,000,000
       Brooklyn, NY)

4.34   KCOF-215 MOORE, LLC (Loan Receivable                          N/A      $100,001 -         Interest      $100,001 -
       from Heritage Equities; Brooklyn, NY)                                  $250,000                         $1,000,000

4.35   OBSERVER CAPITAL SM SPV, LLC (Shares of                       N/A      $5,000,001 -                     None (or less
       Corporate Stock in Source Media Holdings                               $25,000,000                      than $201)
       Inc.; New York, NY)
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 40 of 88

#      DESCRIPTION                                               EIF           VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

4.36   OC PARTNERS, LLC (Cash; New York, NY)       See Endnote   N/A           None (or less   Capital Gains   $1,000,001 -
                                                                               than $1,001)                    $5,000,000

4.37   BRUCKNER P CORP. (Commercial Real Estate    See Endnote   N/A           None (or less   Capital Gains   Over $5,000,000
       in New York, NY)                                                        than $1,001)    Rent or
                                                                                               Royalties

4.38   BRUCKNER PLAZA CENTER, LLC (Commercial      See Endnote   N/A           None (or less   Rent or         Over $5,000,000
       Real Estate in New York, NY)                                            than $1,001)    Royalties
                                                                                               Capital Gains

4.39   FIFTH ASSOCIATES, LLC (Commercial Real      See Endnote   N/A           None (or less   Capital Gains   Over $5,000,000
       Estate in New York, NY)                                                 than $1,001)    Rent or
                                                                                               Royalties

4.40   CK REALTY HOLDINGS, LLC (Commercial         See Endnote   N/A           None (or less   Rent or         Over $5,000,000
       Real Estate in New York, NY and Wippany,                                than $1,001)    Royalties
       NJ)                                                                                     Capital Gains

4.41   29 Second Avenue Realty, LLC (Residential                 N/A           None (or less   Capital Gains   $15,001 -
       Real Estate in New York, NY)                                            than $1,001)    Rent or         $50,000
                                                                                               Royalties

4.42   KFF 29 SECOND AVENUE LLC (Residential       See Endnote   N/A           $100,001 -      Rent or         $15,001 -
       Real Estate in New York, NY)                                            $250,000        Royalties       $50,000

5      Trust #5                                                  No

5.1    BRYNWOOD GARDENS (Residential Real                        N/A           $100,001 -      Rent or         $15,001 -
       Estate in Old Bridge, NJ)                                               $250,000        Royalties       $50,000

5.2    CHERRY PINES APARTMENTS (Residential                      N/A           $100,001 -      Rent or         $15,001 -
       Real Estate in Elizabeth, NJ)                                           $250,000        Royalties       $50,000

5.3    COLONIAL HEIGHTS, LLC (Residential Real                   N/A           $1,000,001 -    Rent or         $100,001 -
       Estate in Parsippany, NJ)                                               $5,000,000      Royalties       $1,000,000

5.4    DARTMOUTH VILLAGE, LLC (Residential Real                  N/A           $250,001 -      Rent or         $15,001 -
       Estate in Parsippany, NJ)                                               $500,000        Royalties       $50,000

5.5    EASTON NORTH ASSOCIATES, LP                               N/A           $500,001 -      Rent or         $50,001 -
       (Residential Real Estate in Franklin                                    $1,000,000      Royalties       $100,000
       Township, NJ)

5.6    FELMORE ASSOCIATES (Residential Real                      N/A           $100,001 -      Rent or         $15,001 -
       Estate in South River, NJ)                                              $250,000        Royalties       $50,000
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 41 of 88

#      DESCRIPTION                                               EIF           VALUE              INCOME TYPE   INCOME
                                                                                                                AMOUNT

5.7    FIVE ACRE JV (Industrial Real Estate in Union,            N/A           $1,001 - $15,000   Rent or       $2,501 - $5,000
       NJ)                                                                                        Royalties

5.8    KAY & ARR REALTY ASSOCIATES (Residential                  N/A           $15,001 -          Rent or       $5,001 - $15,000
       Real Estate in Elizabeth, NJ)                                           $50,000            Royalties

5.9    LMP JV (Industrial Real Estate in Edison, NJ)             N/A           $50,001 -          Rent or       $5,001 - $15,000
                                                                               $100,000           Royalties

5.10   LODI PHILLIPSBURG APARTMENT                               N/A           $100,001 -         Rent or       $15,001 -
       ASSOCIATES (Residential Real Estate in Lodi,                            $250,000           Royalties     $50,000
       NJ)

5.11   MARTHA BELL ASSOCIATES, LLC (Residential                  N/A           $50,001 -          Rent or       $5,001 - $15,000
       Real Estate in Elizabeth, NJ)                                           $100,000           Royalties

5.12   MT. PLEASANT JV (Commercial Real Estate in                N/A           $1,001 - $15,000   Rent or       $5,001 - $15,000
       West Orange, NJ)                                                                           Royalties

5.13   NETCONG HEIGHTS ASSOCIATES, LLC                           N/A           $500,001 -         Rent or       $50,001 -
       (Residential Real Estate in Netcong, NJ)                                $1,000,000         Royalties     $100,000

5.14   OXFORD ARMS ASSOCIATES LIMITED                            N/A           $500,001 -         Rent or       $100,001 -
       PARTNERSHIP (Residential Real Estate in                                 $1,000,000         Royalties     $1,000,000
       Edison, NJ)

5.15   PARK LAKE VILLAGE (Residential Real Estate                N/A           $500,001 -         Rent or       $50,001 -
       in Parsippany, NJ)                                                      $1,000,000         Royalties     $100,000

5.16   PARK LANE MOBILE HOME PARK                                N/A           $50,001 -          Rent or       $2,501 - $5,000
       (Residential Real Estate in Union, NJ)                                  $100,000           Royalties

5.17   PINEFIELD MANOR, LLC (Residential Real                    N/A           $100,001 -         Rent or       $15,001 -
       Estate in Denville, NJ)                                                 $250,000           Royalties     $50,000

5.18   PRINCETON HORIZON APARTMENTS                              N/A           $250,001 -         Rent or       $50,001 -
       (Residential Real Estate in South Brunswick,                            $500,000           Royalties     $100,000
       NJ)

5.19   RIVER EDGE APARTMENTS (Residential Real                   N/A           $500,001 -         Rent or       $100,001 -
       Estate in Ewing, NJ)                                                    $1,000,000         Royalties     $1,000,000

5.20   SKYTOP GARDENS (Residential Real Estate in                N/A           $1,000,001 -       Rent or       $50,001 -
       Sayreville, NJ)                                                         $5,000,000         Royalties     $100,000

5.21   TAYLOR EDISON JV (Industrial Real Estate in               N/A           $15,001 -          Rent or       $1,001 - $2,500
       Edison, NJ)                                                             $50,000            Royalties
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 42 of 88

#       DESCRIPTION                                              EIF           VALUE              INCOME TYPE   INCOME
                                                                                                                AMOUNT

5.22    THE PINES APARTMENTS (Residential Real                   N/A           $50,001 -          Rent or       $5,001 - $15,000
        Estate in Elizabeth, NJ)                                               $100,000           Royalties

5.23    TOV MANOR ASSOCIATES, LP (Residential                    N/A           $500,001 -         Rent or       $50,001 -
        Real Estate in New Brunswick, NJ)                                      $1,000,000         Royalties     $100,000

5.24    WESTFIELD JV (Commercial Real Estate in                  N/A           $1,001 - $15,000   Rent or       $5,001 - $15,000
        Westfield, NJ)                                                                            Royalties

5.25    SCHOOLHOUSE JV (Commercial Real Estate                   N/A           $1,001 - $15,000   Rent or       $2,501 - $5,000
        in Milburn, NJ)                                                                           Royalties

6       Trust #6                                                 No

6.1     200 EAST 62ND 25A, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.2     200 EAST 62ND 25B, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.3     200 EAST 62ND 26D, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.4     212 5TH 7C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

6.5     212 5TH 8C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

6.6     212 5TH 9C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

7       Trust #7                                                 No

7.1     Lincoln National Life Insurance Company,                 No
        Variable Life

7.1.1   SSGA Bond Index Fund                                     Yes           $100,001 -                       None (or less
                                                                               $250,000                         than $201)

7.1.2   JPMorgan High Yield Fund                                 Yes           $15,001 -                        None (or less
                                                                               $50,000                          than $201)

7.1.3   Delaware Diversified Floating Rate Fund                  Yes           $15,001 -                        None (or less
                                                                               $50,000                          than $201)

7.1.4   Delaware VIP REIT Series                                 Yes           $50,001 -                        None (or less
                                                                               $100,000                         than $201)
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 43 of 88

#       DESCRIPTION                                                 EIF        VALUE              INCOME TYPE     INCOME
                                                                                                                  AMOUNT

7.1.5   Dimensional International Core Equity Fund                  Yes        $100,001 -                         None (or less
                                                                               $250,000                           than $201)

7.1.6   Dimensional U.S. Core Equity 2 Fund                         Yes        $250,001 -                         None (or less
                                                                               $500,000                           than $201)

8       55 CHALLENGER ROAD ASSOCIATES, LLC            See Endnote   N/A        $1,000,001 -       Rent or         $1,000,001 -
        (Commercial Real Estate in Ridgefield Park,                            $5,000,000         Royalties       $5,000,000
        NJ)

9       570 WEST MT. PLEASANT ASSOCIATES, LLC                       N/A        $500,001 -         Rent or         $100,001 -
        (Residential Real Estate in Livingston, NJ)                            $1,000,000         Royalties       $1,000,000

10      CHATHAM HILL ASSOCIATES, LLC                  See Endnote   N/A        $1,001 - $15,000   Rent or         $201 - $1,000
        (Residential Real Estate in Chatham, NJ)                                                  Royalties

11      GELLERT 80 WEST END, LLC (Residential and     See Endnote   N/A        $1,000,001 -       Rent or         $100,001 -
        Commercial Real Estate in Long Branch, NJ                              $5,000,000         Royalties       $1,000,000
        and Astoria, NY)

12      K 30 JOURNAL Manager Corp. (Undeveloped                     N/A        $1,001 - $15,000                   None (or less
        Real Estate in Jersey City, NJ)                                                                           than $201)

13      K MARYLAND ASSOCIATES, LLC (Residential       See Endnote   N/A        $500,001 -         Rent or         $100,001 -
        Real Estate in Baltimore & Prince George’s                             $1,000,000         Royalties       $1,000,000
        County, MD)

14      KUSHNER MIDWEST PARTNERS 1 LLC                See Endnote   N/A        $5,000,001 -       Rent or         Over $5,000,000
        (Residential Real Estate in Toledo,                                    $25,000,000        Royalties
        Middletown, Akron & Bedford Heights, OH,
        Pittsburgh, PA & Speedway, IN)

15      NEW PUCK CORP. (Commercial Real Estate        See Endnote   N/A        $1,000,001 -       Rent or         $50,001 -
        in New York, NY)                                                       $5,000,000         Royalties       $100,000

16      TIMES SQUARE ASSOCIATES, LLC                  See Endnote   N/A        $5,000,001 -       Rent or         $1,000,001 -
        (Commercial Real Estate in New York, NY)                               $25,000,000        Royalties       $5,000,000

17      411 WEST PUTNAM AVENUE (Commercial                          N/A        $1,001 - $15,000                   None (or less
        Real Estate in Greenwich, CT)                                                                             than $201)

18      KUSHNER CREDIT OPPORTUNITY FUND, LLC          See Endnote   N/A        $15,001 -                          None (or less
        (Management Company; New York, NY)                                     $50,000                            than $201)

19      BFPS VENTURES, LLC (holding company;          See Endnote   No         $5,000,001 -       Capital Gains   $1,000,001 -
        New York, NY)                                                          $25,000,000        Rent or         $5,000,000
                                                                                                  Royalties
                                        Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 44 of 88

#       DESCRIPTION                                                   EIF      VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

19.1    U.S. bank account #2 (cash)                                   N/A      $100,001 -                      None (or less
                                                                               $250,000                        than $201)

19.2    U.S. money market account #2 (cash)                           N/A      $15,001 -                       None (or less
                                                                               $50,000                         than $201)

19.3    Quadro Partners (d/b/a Cadre) (Real Estate                    N/A      $5,000,001 -                    None (or less
        Investment Platform in New York, NY)                                   $25,000,000                     than $201)

19.4    Kushner Village 2 Member LLC (Rental            See Endnote   N/A      None (or less   Capital Gains   $100,001 -
        Apartments in New York, NY)                                            than $1,001)    Rent or         $1,000,000
                                                                                               Royalties

19.5    2 Rector Kushner Member LLC (Commercial         See Endnote   N/A      None (or less   Capital Gains   $1,000,001 -
        Real Estate in New York, NY)                                           than $1,001)                    $5,000,000

19.6    Kaszek Ventures II (Venture Capital Fund)       See Endnote   No       None (or less   Capital Gains   $1,001 - $2,500
                                                                               than $1,001)

19.7    Sixty Capital Fund (Hedge Fund)                 See Endnote   No       None (or less   Dividends       $15,001 -
                                                                               than $1,001)    Capital Gains   $50,000
                                                                                               Interest

19.8    FabFitFun (Beauty and Wellness                  See Endnote   N/A      None (or less                   None (or less
        Subscription Service)                                                  than $1,001)                    than $201)

19.9    JCK Cadre LLC (prior holding company for                      N/A      None (or less   Capital Gains   $100,001 -
        Quadro Partners; New York, NY)                                         than $1,001)                    $1,000,000

19.10   Contingent rights to ownership interests in     See Endnote   N/A                                      None (or less
        entities holding real estate directly or                                                               than $201)
        indirectly (value not readily ascertainable)
        (entities listed in endnote)

20      BROADBAND PROLIFERATION PARTNERS,               See Endnote   N/A      $5,000,001 -    Ordinary        $4,500,000
        LLC (WiredScore; New York, NY)                                         $25,000,000     Business
                                                                                               Income

21      REGAL BANK (Shares of Corp. Stock;              See Endnote   N/A      None (or less   Capital Gains   $100,001 -
        Livingston, NJ)                                                        than $1,001)                    $1,000,000

22      JKM CAPITAL, LLC (interest in venture capital   See Endnote   No       None (or less   Capital Gains   $100,001 -
        fund; New York, NY)                                                    than $1,001)                    $1,000,000

23      THRIVE PARTNERS II GP, LLC (interest in         See Endnote   No       None (or less   Capital Gains   $1,000,001 -
        venture capital fund; New York, NY)                                    than $1,001)                    $5,000,000
                                      Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 45 of 88

#    DESCRIPTION                                                   EIF       VALUE              INCOME TYPE     INCOME
                                                                                                                AMOUNT

24   THRIVE PARTNERS III GP, LLC (interest in        See Endnote   No        None (or less      Capital Gains   Over $5,000,000
     venture capital fund; New York, NY)                                     than $1,001)

25   JK Thrive IV LLC (interest in venture capital   See Endnote   No        None (or less      Capital Gains   $1,000,001 -
     fund; New York, NY)                                                     than $1,001)                       $5,000,000

26   JK Thrive V LLC (interest in venture capital    See Endnote   No        None (or less      Capital Gains   $201 - $1,000
     fund; New York, NY)                                                     than $1,001)

27   U.S. money market account #3 (cash)                           N/A       $1,000,001 -       Interest        $201 - $1,000
                                                                             $5,000,000

28   U.S. bank account #3 (cash)                                   N/A       $50,001 -                          None (or less
                                                                             $100,000                           than $201)

29   U.S. money market account #4 (cash)                           N/A       $1,001 - $15,000                   None (or less
                                                                                                                than $201)

30   U.S. bank account #4 (cash)                                   N/A       $1,000,001 -                       None (or less
                                                                             $5,000,000                         than $201)

31   U.S. bank account #5 (cash)                                   N/A       $1,001 - $15,000                   None (or less
                                                                                                                than $201)

32   U.S. bank account #6 (cash)                                   N/A       $100,001 -         Interest        $201 - $1,000
                                                                             $250,000

33   U.S. bank account #7 (cash)                                   N/A       $250,001 -                         None (or less
                                                                             $500,000                           than $201)

34   Pepsico, Inc. (28 shares)                       See Endnote   N/A       None (or less      Capital Gains   $5,001 - $15,000
                                                                             than $1,001)

35   Yum Brands, Inc. (8 shares)                     See Endnote   N/A       None (or less      Capital Gains   $201 - $1,000
                                                                             than $1,001)

36   U.S. bank account #8 (cash)                                   N/A       $100,001 -                         None (or less
                                                                             $250,000                           than $201)

37   EATON VANCE ATLANTA CAP SMID CAP                              Yes       $250,001 -                         $5,001 - $15,000
     FUND CLASS I (EISMX)                                                    $500,000

38   ISHARES MSCI EAFE ETF (EFA)                                   Yes       $50,001 -                          None (or less
                                                                             $100,000                           than $201)

39   OPPENHEIMER DEVELOPING MARKETS                                Yes       $250,001 -                         $5,001 - $15,000
     CLASS Y (ODVYX)                                                         $500,000
                                     Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 46 of 88

#    DESCRIPTION                                              EIF           VALUE              INCOME TYPE   INCOME
                                                                                                             AMOUNT

40   POWERSHARES S&P 500 LOW VOLATILITY                       Yes           $100,001 -                       $15,001 -
     PORTFOLIO ETF (SPLV)                                                   $250,000                         $50,000

41   THORNBURG INTL VALUE FUND I (TGVIX)                      Yes           $500,001 -                       $201 - $1,000
                                                                            $1,000,000

42   VANGUARD GROWTH ETF (VUG)                                Yes           $250,001 -                       $2,501 - $5,000
                                                                            $500,000

43   VANGUARD VALUE ETF (VTV)                                 Yes           $100,001 -                       $1,001 - $2,500
                                                                            $250,000

44   VIRTUS SMALL-CAP CORE FUND CLASS I                       Yes           $100,001 -                       $5,001 - $15,000
     (PKSFX)                                                                $250,000

45   HARTFORD WORLD BOND FUND I (HWDIX)                       Yes           $250,001 -                       None (or less
                                                                            $500,000                         than $201)

46   LORD ABBETT INTERMEDIATE TAX FREE                        Yes           $1,000,001 -                     $15,001 -
     FUND CLASS F (LISFX)                                                   $5,000,000                       $50,000

47   LORD ABBETT HIGH YIELD FUND CLASS F                      Yes           $250,001 -                       $15,001 -
     (LHYFX)                                                                $500,000                         $50,000

48   RIVERNORTH/DOUBLELINE STRATEGIC                          Yes           $100,001 -                       $5,001 - $15,000
     INCOME FUND I (RNSIX)                                                  $250,000

49   TEMPLETON GLOBAL BOND ADV (TGBAX)                        Yes           $100,001 -                       $2,501 - $5,000
                                                                            $250,000

50   VANGUARD TOTAL BOND MKT ETF (BND)                        Yes           $100,001 -                       None (or less
                                                                            $250,000                         than $201)

51   WELLS FARGO INTERMEDIATE TAX/AMTFREE                     Yes           $1,000,001 -                     $15,001 -
     FUND CLASS INST (WITIX)                                                $5,000,000                       $50,000

52   VAN ECK CM COMMODITY INDEX FUND Y                        Yes           $250,001 -                       $15,001 -
     (CMCYX)                                                                $500,000                         $50,000

53   U.S. bank account #9 (cash)                              N/A           $1,001 - $15,000                 None (or less
                                                                                                             than $201)

54   Blackstone Strategic Alliance Fund II LP   See Endnote   Yes           $250,001 -                       $100,001 -
                                                                            $500,000                         $1,000,000

55   A&Q LONG/SHORT STRATEGIES FUND LLC         See Endnote   N/A           $1,001 - $15,000                 None (or less
     PROMISSORY NOTE                                                                                         than $201)
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 47 of 88

#    DESCRIPTION                                              EIF          VALUE              INCOME TYPE     INCOME
                                                                                                              AMOUNT

56   PIMCO RAE FUNDAMENTAL ADVANTAGE            See Endnote   Yes          None (or less                      $2,501 - $5,000
     PLUS FUND CLASS P (PFATX)                                             than $1,001)

57   POWERSHARES S&P 500 DOWNSIDE                             Yes          None (or less                      $1,001 - $2,500
     HEDGED PORTFOLIO ETF (PHDG)                                           than $1,001)

58   U.S. bank account #10 (cash)                             N/A          $250,001 -                         None (or less
                                                                           $500,000                           than $201)

59   UBS RMA Government money market fund                     Yes          $1,001 - $15,000                   None (or less
     (RMGXX)                                                                                                  than $201)

60   EATON VANCE ATLANTA CAP SMID CAP                         Yes          $15,001 -                          $201 - $1,000
     FUND CLASS I (EISMX)                                                  $50,000

61   SIGNATURE BANK NEW YORK NY                 See Endnote   N/A          None (or less      Capital Gains   $15,001 -
                                                                           than $1,001)                       $50,000

62   PIMCO TOTAL RETURN FUND CLASS P                          Yes          $50,001 -                          $1,001 - $2,500
     (PTTPX)                                                               $100,000

63   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                 Yes          $15,001 -                          $5,001 - $15,000
                                                                           $50,000

64   U.S. bank account #11 (cash)                             N/A          $1,001 - $15,000                   None (or less
                                                                                                              than $201)

65   EATON VANCE ATLANTA CAP SMID CAP                         Yes          $15,001 -                          None (or less
     FUND CLASS I (EISMX)                                                  $50,000                            than $201)

66   SIGNATURE BANK NEW YORK NY                 See Endnote   N/A          None (or less      Capital Gains   $15,001 -
                                                                           than $1,001)                       $50,000

67   PIMCO TOTAL RETURN FUND CLASS P                          Yes          $15,001 -                          $1,001 - $2,500
     (PTTPX)                                                               $50,000

68   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                 Yes          $15,001 -                          $1,001 - $2,500
                                                                           $50,000

69   PRINCIPAL SM-MD CP DIV P (PMDPX)                         Yes          $1,001 - $15,000                   None (or less
                                                                                                              than $201)

70   SIGNATURE BANK NEW YORK NY                 See Endnote   N/A          None (or less      Capital Gains   $5,001 - $15,000
                                                                           than $1,001)

71   PIMCO TOTAL RETURN FUND CLASS P                          Yes          $1,001 - $15,000                   None (or less
     (PTTPX)                                                                                                  than $201)
                                     Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 48 of 88

#    DESCRIPTION                                                EIF         VALUE              INCOME TYPE   INCOME
                                                                                                             AMOUNT

72   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                   Yes         $1,001 - $15,000                 None (or less
                                                                                                             than $201)

73   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                        None (or less
     (CEUAX)                                                                $100,000                         than $201)

74   Washington Mutual Investors Fund - 529-A                   Yes         $100,001 -                       None (or less
     (1001) (CWMAX)                                                         $250,000                         than $201)

75   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                        None (or less
     (CEUAX)                                                                $100,000                         than $201)

76   Washington Mutual Investors Fund - 529-A                   Yes         $100,001 -                       None (or less
     (1001) (CWMAX)                                                         $250,000                         than $201)

77   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                        None (or less
     (CEUAX)                                                                $100,000                         than $201)

78   Washington Mutual Investors Fund - 529-A                   Yes         $50,001 -                        None (or less
     (1001) (CWMAX)                                                         $100,000                         than $201)

79   502 6G LLC (Residential Real Estate in New                 N/A         $1,000,001 -       Rent or       $100,001 -
     York, NY)                                                              $5,000,000         Royalties     $1,000,000

80   K MARYLAND ASSOCIATES, LLC (Residential      See Endnote   N/A         $500,001 -         Rent or       $100,001 -
     Real Estate in Baltimore, Garrett & Prince                             $1,000,000         Royalties     $1,000,000
     George, MD)

81   KUSHNER MIDWEST PARTNERS 1 LLC               See Endnote   N/A         $1,000,001 -       Rent or       $1,000,001 -
     (Residential Real Estate in Toledo,                                    $5,000,000         Royalties     $5,000,000
     Middletown, Akron & Bedford Heights, OH,
     Pittsburgh, PA & Speedway, IN)

82   Flatbush 340 Lender LLC (Loan Receivable     See Endnote   N/A         $100,001 -         Interest      $15,001 -
     from 9 Dekalb Owner LLC; Brooklyn, NY)                                 $250,000                         $50,000

83   The Obsidian Fund LLC Class C                See Endnote   Yes         $1,000,001 -                     $100,001 -
                                                                            $5,000,000                       $1,000,000

84   Hennessy Gas Utility Index Fund Investor     See Endnote   Yes         None (or less                    $15,001 -
     Class Shares (GASFX)                                                   than $1,001)                     $50,000

85   ISHARES 20+ YEAR TREAS BOND ETF (TLT)        See Endnote   Yes         None (or less                    $15,001 -
                                                                            than $1,001)                     $50,000

86   JP MORGAN CORE BOND FUND SELECT              See Endnote   Yes         None (or less                    $201 - $1,000
     (WOBDX)                                                                than $1,001)
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 49 of 88

#     DESCRIPTION                                            EIF           VALUE              INCOME TYPE     INCOME
                                                                                                              AMOUNT

87    NUVEEN ENHANCED AMT-FREE MUNICIPAL       See Endnote   Yes           None (or less                      $5,001 - $15,000
      CREDIT OPPORTUNITIES FUND (NVG)                                      than $1,001)

88    PIMCO ENHANCED SHORT MAT ACTIVE ETF      See Endnote   Yes           None (or less                      $1,001 - $2,500
      (MINT)                                                               than $1,001)

89    SIGNATURE BANK NEW YORK NY               See Endnote   N/A           None (or less      Capital Gains   $100,001 -
                                                                           than $1,001)                       $1,000,000

90    TEMPLETON GLOBAL INCOME FUND (GIM)       See Endnote   Yes           None (or less                      $2,501 - $5,000
                                                                           than $1,001)

91    BOEING COMPANY                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

92    DOMINION RESOURCES INC VA                See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

93    ISHARES MSCI EAFE ETF (EFA)                            Yes           $1,001 - $15,000                   None (or less
                                                                                                              than $201)

94    HOME DEPOT INC                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

95    MICROSOFT CORP                           See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

96    NEXTERA ENERGY INC                       See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

97    OPPENHEIMER DEVELOPING MARKETS                         Yes           $1,001 - $15,000                   None (or less
      (ODVYX)                                                                                                 than $201)

98    ROCKWELL AUTOMATION INC                  See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

99    SCHLUMBERGER LTD NETHERLANDS             See Endnote   N/A           None (or less      Dividends       $201 - $1,000
      ANTILLES                                                             than $1,001)       Capital Gains

100   VANGUARD VALUE ETF (VTV)                               Yes           $15,001 -                          None (or less
                                                                           $50,000                            than $201)

101   VANGUARD GROWTH ETF (VUG)                              Yes           $15,001 -                          None (or less
                                                                           $50,000                            than $201)

102   EATON VANCE GLOBAL MACRO ABSOLUTE        See Endnote   Yes           None (or less                      $201 - $1,000
      RETURN ADV FUND (EGRIX)                                              than $1,001)
                                    Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 50 of 88

#     DESCRIPTION                                            EIF           VALUE              INCOME TYPE     INCOME
                                                                                                              AMOUNT

103   BOEING COMPANY                           See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

104   DOMINION RESOURCES INC VA                See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

105   HOME DEPOT INC                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

106   MICROSOFT CORP                           See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

107   NEXTERA ENERGY INC                       See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

108   OPPENHEIMER DEVELOPING MARKETS                         Yes           $15,001 -                          None (or less
      (ODVYX)                                                              $50,000                            than $201)

109   PRINCIPAL SM-MID CP DIV P (PMDPX)                      Yes           $50,001 -                          None (or less
                                                                           $100,000                           than $201)

110   ROCKWELL AUTOMATION INC                  See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                           than $1,001)       Capital Gains

111   SCHLUMBERGER LTD NETHERLANDS             See Endnote   N/A           None (or less      Dividends       $201 - $1,000
      ANTILLES                                                             than $1,001)       Capital Gains

112   VANGUARD VALUE ETF (VTV)                               Yes           $15,001 -                          None (or less
                                                                           $50,000                            than $201)

113   VANGUARD GROWTH ETF (VUG)                              Yes           $15,001 -                          None (or less
                                                                           $50,000                            than $201)

114   BOEING COMPANY                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains

115   DOMINION RESOURCES INC VA                See Endnote   N/A           None (or less                      None (or less
                                                                           than $1,001)                       than $201)

116   HOME DEPOT INC                           See Endnote   N/A           None (or less                      None (or less
                                                                           than $1,001)                       than $201)

117   ISHARES MSCI EAFE ETF (EFA)                            Yes           $1,001 - $15,000                   None (or less
                                                                                                              than $201)

118   MICROSOFT CORP                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                           than $1,001)       Capital Gains
                                     Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 51 of 88

#     DESCRIPTION                                                 EIF       VALUE              INCOME TYPE     INCOME
                                                                                                               AMOUNT

119   NEXTERA ENERGY INC                            See Endnote   N/A       None (or less                      None (or less
                                                                            than $1,001)                       than $201)

120   OPPENHEIMER DEVELOPING MARKETS                              Yes       $1,001 - $15,000                   None (or less
      (ODVYX)                                                                                                  than $201)

121   ROCKWELL AUTOMATION INC                       See Endnote   N/A       None (or less      Dividends       $201 - $1,000
                                                                            than $1,001)       Capital Gains

122   SCHLUMBERGER LTD NETHERLANDS                  See Endnote   N/A       None (or less                      None (or less
      ANTILLES                                                              than $1,001)                       than $201)

123   VANGUARD VALUE ETF (VTV)                                    Yes       $1,001 - $15,000                   None (or less
                                                                                                               than $201)

124   VANGUARD GROWTH ETF (VUG)                                   Yes       $1,001 - $15,000                   None (or less
                                                                                                               than $201)

125   80 ML, LLC (Commercial real estate in New     See Endnote   N/A       $1,001 - $15,000   Rent or         $201 - $1,000
      York, NY)                                                                                Royalties

126   KF MIDDLE RIVER, LLC (Residential real        See Endnote   N/A       $1,001 - $15,000   Rent or         $201 - $1,000
      estate in Middle River & Essex, MD)                                                      Royalties

127   KF WESTWOOD PARTNER, LLC (Residential         See Endnote   N/A       None (or less      Rent or         $1,001 - $2,500
      real estate in Westwood & River Vale, NJ)                             than $1,001)       Royalties

128   WESTMINSTER TITLE ASSOCIATES, LLC             See Endnote   N/A       None (or less      Brokerage       $157,947
      (Insurance brokerage license; Florham Park,                           than $1,001)       commissions
      NJ)

129   BRUCKNER PLAZA CENTER CORP.                   See Endnote   N/A       None (or less      Capital Gains   $100,001 -
      (Commercial Real Estate in New York, NY)                              than $1,001)       Rent or         $1,000,000
                                                                                               Royalties

130   NEWS CORPORATION                              See Endnote   N/A       None (or less      Capital Gains   $1,001 - $2,500
                                                                            than $1,001)

131   21ST CENTURY FOX                              See Endnote   N/A       None (or less      Capital Gains   $5,001 - $15,000
                                                                            than $1,001)

132   ISHARES MSCI EAFE ETF                                       Yes       $15,001 -                          None (or less
                                                                            $50,000                            than $201)

133   UBS RMA Government Money Market Fund                        Yes       $15,001 -                          None (or less
      (RMGXX)                                                               $50,000                            than $201)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 52 of 88

#     DESCRIPTION                                               EIF           VALUE          INCOME TYPE   INCOME
                                                                                                           AMOUNT

134   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

135   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

136   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

137   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

138   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

139   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

140   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

141   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

142   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

143   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

144   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

145   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

146   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

147   Treasury Note                                             N/A           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

148   iShares Russell 1000 ETF (IWB)                            Yes           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)

149   Powershares Nasdaq 100 ETF (QQQ)                          Yes           $1,000,001 -                 None (or less
                                                                              $5,000,000                   than $201)
                                       Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 53 of 88

#     DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                              AMOUNT

150   Janus Enterprise Fund Class 1 (JMGRX)                         Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

151   Wells Fargo Special Small Cap Value (ESPNX)                   Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

152   Metlife                                         See Endnote   N/A       None (or less   Dividends       $15,001 -
                                                                              than $1,001)    Capital Gains   $50,000

153   U.S. bank account #12 (cash)                                  N/A       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

154   U.S. bank account #13 (cash)                                  N/A       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

155   C-III Recovery Fund I LP (Financial             See Endnote   No        None (or less   Capital Gains   $100,001 -
      Investments; Irving, TX)                                                than $1,001)                    $1,000,000

156   20 de Bariloche LP (Real Estate in Argentina)   See Endnote   N/A       None (or less   Capital Gains   $1,001 - $2,500
                                                                              than $1,001)

157   666 KC MANAGEMENT, LLC (Management              See Endnote   N/A       None (or less   Management      $3,000,000
      company; New York, NY)                                                  than $1,001)    Fee Income

158   A&Q LONG/SHORT STRATEGIES FUND LLC              See Endnote   Yes       None (or less                   $2,501 - $5,000
                                                                              than $1,001)

159   2 Rector Kushner Member LLC (Commercial         See Endnote   N/A       None (or less   Capital Gains   Over $5,000,000
      Real Estate in New York, NY)                                            than $1,001)

160   Artwork                                                       N/A       $5,000,001 -                    None (or less
                                                                              $25,000,000                     than $201)

161   MMLL LLC (liquor license for restaurant at      See Endnote   N/A       $500,001 -                      None (or less
      Monmouth Mall, Eatontown, NJ)                                           $1,000,000                      than $201)

162   ERIE CNTY NY FISCAL STABILITY AUTH SALES        See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      TAX & ST AID SECD A, bonds                                              than $1,001)

163   NEW YORK ST DORM AUTH ST PERSONAL               See Endnote   N/A       None (or less   Capital Gains   $1,001 - $2,500
      INCOME TAX REVENUE RFDG SER E, bonds                                    than $1,001)    Interest

164   NEW YORK ST SER E, bonds                        See Endnote   N/A       None (or less   Interest        $201 - $1,000
                                                                              than $1,001)

165   DUTCHESS CNTY NY, bonds                         See Endnote   N/A       None (or less   Capital Gains   $1,001 - $2,500
                                                                              than $1,001)    Interest
                                 Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 54 of 88

#     DESCRIPTION                                             EIF       VALUE           INCOME TYPE     INCOME
                                                                                                        AMOUNT

166   NEW YORK NY VAR SUBSER L 4, bonds         See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

167   NEW YORK ST DORM AUTH SALES TAX           See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      REVENUE RFDG SER A, bonds                                         than $1,001)    Capital Gains

168   NEW YORK ST DORM AUTH ST PERSONAL         See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      INCOME TAX REVENUE UNREFUNDED SER A,                              than $1,001)
      bonds

169   SALES TAX ASSET RECEIVABLE CORP NY        See Endnote   N/A       None (or less   Interest        $201 - $1,000
      RFDG FISCAL 2015 SER A, bonds                                     than $1,001)

170   MET TRANSPRTN AUTH NY REVENUE RFDG        See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      TRANSPRTN SER C, bonds                                            than $1,001)

171   NEW YORK ST SER A, bonds                  See Endnote   N/A       None (or less   Interest        $5,001 - $15,000
                                                                        than $1,001)

172   NEW YORK NY SER B, bonds                  See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

173   BATTERY PARK CITY NY AUTH SENIOR SER A,   See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      bonds                                                             than $1,001)

174   NEW YORK CITY NY MUNI WTR FIN AUTH        See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      WTR & SWR SYS REVEN SER AA, bonds                                 than $1,001)

175   NEW YORK ST DORM AUTH REVS NONST          See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      SUPPORTED DEBT CORNELL UNIV B, bonds                              than $1,001)

176   PORT AUTH OF NEW YORK & NEW JERSEY        See Endnote   N/A       None (or less   Interest        $5,001 - $15,000
      NY SER 179, bonds                                                 than $1,001)

177   NEW YORK NY SER E, bonds                  See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

178   JP MORGAN CHASE BANK, bonds               See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

179   NEW YORK ST LOCAL GOVT ASSISTANCE         See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      CORP RFDG SUB LIEN SER A, bonds                                   than $1,001)

180   NEW YORK ST DORM AUTH REVENUES ST         See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      SUPPORTED DEBT THIRD GEN RESOLUTION                               than $1,001)
      ST UNIV EDL FACS SER A, bonds
                                 Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 55 of 88

#     DESCRIPTION                                          EIF          VALUE           INCOME TYPE     INCOME
                                                                                                        AMOUNT

181   NEW YORK ST ENVIRON FACS CORP ST       See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      CLEAN WTR & DRINKING REVOLVING                                    than $1,001)
      FDSNYC MUN WTR A, bonds

182   CALIFORNIA ST DEPT OF WTR RESOURCES    See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      PWR SPLY REVENUE SER M, bonds                                     than $1,001)

183   NEW YORK STATE URBAN DEV CORP REV      See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      RFDG SVC CONTRACT SER B, bonds                                    than $1,001)

184   DURHAM CNTY N C RFDG, bonds            See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

185   TRIBOROUGH NY BRIDGE & TUNNEL AUTH     See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      REVENUES GEN SER A RMKT, bonds                                    than $1,001)

186   EXXON MOBIL CORPORATION, bonds         See Endnote   N/A          None (or less   Interest        $201 - $1,000
                                                                        than $1,001)

187   CHARLOTTE NC RFDG, bonds               See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
                                                                        than $1,001)

188   MET TRANSPRTN AUTH NY REVENUE          See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
      TRANSN SER A, bonds                                               than $1,001)

189   NEW YORK ST URBAN DEV CORP REV ST      See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      PERS INCOME TAX SER A1, bonds                                     than $1,001)

190   WAKE CNTY NC RFDG, bonds               See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

191   ALABAMA ST PUBLIC SCH & CLG AUTH CAP   See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      IMPT, bonds                                                       than $1,001)

192   ECOLAB INC, bonds                      See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

193   UTAH ST SER A, bonds                   See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

194   UNIV OF TEXAS TX PERMANENT UNIV FND    See Endnote   N/A          None (or less   Capital Gains   $1,001 - $2,500
      SER B, bonds                                                      than $1,001)    Interest

195   NASSAU CNTY NY INTERIM FIN AUTH RFDG   See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      SALES TAX SECURED SER A, bonds                                    than $1,001)

196   OREGON ST DEPT OF TRANSPRTN HIGHWAY    See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      USER TAX REVENUE SER A, bonds                                     than $1,001)
                                   Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 56 of 88

#     DESCRIPTION                                           EIF           VALUE           INCOME TYPE   INCOME
                                                                                                        AMOUNT

197   CNA FINL CORP, bonds                    See Endnote   N/A           None (or less   Interest      $201 - $1,000
                                                                          than $1,001)

198   GOLDMAN SACHS GROUP INC SR GLOBAL       See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
      NT, bonds                                                           than $1,001)

199   FORD MTR CR CO NT, bonds                See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
                                                                          than $1,001)

200   UTAH ST RFDG SER C, bonds               See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

201   CISCO SYS INC SR NT, bonds              See Endnote   N/A           None (or less   Interest      $201 - $1,000
                                                                          than $1,001)

202   GREENBURGH NY, bonds                    See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

203   JP MORGAN CHASE & CO, bonds             See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

204   MORGAN STANLEY, bonds                   See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

205   NEW YORK ST THRUWAY AUTH 2ND GEN        See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
      HIGHWAY & BRIDGE TRUST FUND SER A,                                  than $1,001)
      bonds

206   WELLS FARGO COMPANY, bonds              See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

207   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
                                                                          than $1,001)

208   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

209   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $2,501 - $5,000
                                                                          than $1,001)

210   ONONDAGA CNTY NY, bonds                 See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

211   WESTCHESTER CNTY NY, bonds              See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

212   WHITE PLAINS NY, bonds                  See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)
                                               Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 57 of 88

 #        DESCRIPTION                                                   EIF              VALUE           INCOME TYPE   INCOME
                                                                                                                       AMOUNT

 213      CALIFORNIA ST, bonds                            See Endnote   N/A              None (or less   Interest      $2,501 - $5,000
                                                                                         than $1,001)

 214      GEORGIA ST, bonds                               See Endnote   N/A              None (or less   Interest      $5,001 - $15,000
                                                                                         than $1,001)

 215      MARYLAND ST DEPT TRANSN, bonds                  See Endnote   N/A              None (or less   Interest      $2,501 - $5,000
                                                                                         than $1,001)

 216      BOSTON MA, bonds                                See Endnote   N/A              None (or less   Interest      $2,501 - $5,000
                                                                                         than $1,001)

 217      MASSACHUSETTS ST WTR POLLUTN, bonds             See Endnote   N/A              None (or less   Interest      $5,001 - $15,000
                                                                                         than $1,001)

 218      MECKLENBERG CNTY NC, bonds                      See Endnote   N/A              None (or less   Interest      $2,501 - $5,000
                                                                                         than $1,001)

 219      WAKE CNTY NC, bonds                             See Endnote   N/A              None (or less   Interest      $5,001 - $15,000
                                                                                         than $1,001)

 220      VIRGINIA BEACH VA, bonds                        See Endnote   N/A              None (or less   Interest      $1,001 - $2,500
                                                                                         than $1,001)

 221      VIRGINIA ST, bonds                              See Endnote   N/A              None (or less   Interest      $1,001 - $2,500
                                                                                         than $1,001)



7. Transactions

(N/A) - Not required for this type of report


8. Liabilities
 #        CREDITOR NAME                                                 TYPE             AMOUNT          YEAR          RATE               TERM
                                                                                                         INCURRED

 1        Valley National Bank                                          Unsecured line   $5,000,001 -    2015          PRIME+0.75%        revolving
                                                                        of credit        $25,000,000

 2        Deutsche Bank                                   See Endnote   Unsecured line   $5,000,001 -    2015          LIBOR+2.5%         revolving
                                                                        of credit        $25,000,000
                                               Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 58 of 88

 #        CREDITOR NAME                                                 TYPE              AMOUNT         YEAR       RATE              TERM
                                                                                                         INCURRED

 3        Bank of America                                 See Endnote   Unsecured line    $1,000,001 -   2016       LIBOR+2.5%        revolving
                                                                        of credit         $5,000,000

 4        IDB Bank                                        See Endnote   Unsecured line    $1,000,001 -   2016       4.5%              revolving
                                                                        of credit         $5,000,000

 5        New York Community Bank                         See Endnote   Unsecured line    $1,000,001 -   2016       PRIME (3.25% F)   revolving
                                                                        of credit         $5,000,000

 6        Citi Group                                      See Endnote   Unsecured line    $1,000,001 -   2015       LIBOR+2.9%        revolving
                                                                        of credit         $5,000,000

 7        Signature Bank                                  See Endnote   Unsecured line    $1,000,001 -   2016       PRIME+0.5%        revolving
                                                                        of credit         $5,000,000                (4% F)

 8        Investors Savings Bank                                        Unsecured line    $1,000,001 -   2015       PRIME (3.25% F)   revolving
                                                                        of credit         $5,000,000

 9        Millington Bank                                               Unsecured line    $1,000,001 -   2016       PRIME (3.5% F)    revolving
                                                                        of credit         $5,000,000

 10       Signature Bank                                                Secured line of   $1,000,001 -   2016       PRIME+0.5%        revolving
                                                                        credit            $5,000,000                (4%F)

 11       Bank of America                                 See Endnote   Note Payable      $1,000,001 -   2015       LIBOR+2.75%       6/15/2018
                                                                                          $5,000,000

 12       Visa                                                          Credit Card       $100,001 -     2008       13.74%            revolving
                                                                                          $250,000

 13       Visa                                                          Credit Card       $15,001 -      2008       13.74%            revolving
                                                                                          $50,000



9. Gifts and Travel Reimbursements

(N/A) - Not required for this type of report




Endnotes
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 59 of 88

PART   #                      ENDNOTE

1.     61                     Filer has retained an equity interest in this entity, which did not meet the value/income reporting
                              threshold for inclusion in Part 6.

                              The structure of this entity is as follows:

                              61 IVANKA OPO HOTEL MANAGER LLC
                              61.1 OPO HOTEL MANAGER LLC
                              61.1.1 THC DC RESTAURANT HOSPITALITY LLC

1.     68                     Filer has retained an equity interest in this entity, which did not meet the value/income thresholds for
                              inclusion in Part 6.

                              See item 61 for entity structure.

1.     286                    Filer sold all of her interest in this entity in January 2017 and intended to surrender any positions she
                              held in it at that time. Out of an abundance of caution, she executed documents resigning such
                              positions in June 2017.

2.     1                      January 2016 - March 8, 2017 income for assets currently held in the Ivanka M. Trump Business Trust,
                              as reflected in Line 2.

2.     2                      Trust was formed on March 9, 2017. Income for underlying entities for January 2016 to March 8, 2017
                              is reported on Line 1 with IT Operations LLC.

2.     2.1                    This entity holds the following intellectual property: (1) name- and initial-related trademarks registered
                              in the United States, Canada, Mexico, UAE, EU, New Zealand, Saudi Arabia, Australia, Azerbaijan,
                              Bahrain, Brazil, China, Indonesia, Israel, India, Japan, Kuwait, Panama, Philippines, Puerto Rico, Qatar,
                              Turkey, Russia, Nigeria, Hong Kong, Korea, Taiwan; (2) "Women Who Work"-related trademarks
                              registered in the United States; (3) copyrights related to Ivanka Trump branded jewelry registered in
                              the United States; and (4) name- and initial-related copyrights registered in China and Scotland.

2.     2.6                    This asset has been merged into IT Operations Managing Member Corp.

2.     2.8                    This asset has been merged into IT Operations Managing Member Corp.

2.     2.10                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.12                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.14                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.16                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.18                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.20                   This asset has been merged into IT Operations Managing Member Corp.

2.     2.22                   This asset has been merged into IT Operations Managing Member Corp.
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 60 of 88

PART   #                      ENDNOTE

2.     2.23                   This asset has been merged into IT Operations Managing Member Corp.

2.     3                      Filer resigned from her positions at the Trump Organization in January 2017.

2.     4                      Income is for the period 1/1/2016 - 5/30/2017

2.     5                      Filer previously received fees through these businesses that varied based on the performance of the
                              business, but now will receive fixed payments that have been cross-guaranteed.

                              Filer has not received any of the fixed payments to date in 2017.

2.     6                      Filer previously received fees through these businesses that varied based on the performance of the
                              business, but now will receive fixed payments that have been cross-guaranteed.

2.     7                      Filer previously received fees through these businesses that varied based on the performance of the
                              business, but now will receive fixed payments that have been cross-guaranteed.

2.     8                      Filer previously received fees through these businesses that varied based on the performance of the
                              business, but now will receive fixed payments that have been cross-guaranteed.

                              Filer has not received any of these fixed payments to date in 2017.

2.     9                      Book was released May 2, 2017

2.     12                     Filer resigned from her position as trustee in December 2016.

3.     6                      Arrangement start date is estimated

5.     2                      This asset has been divested.

6.     1.1                    The structure of this entity is as follows:
                              1.1.1 ELMWOOD CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                              1.1.1.1 ELMWOOD CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                              1.1.1.1.1 ELMWOOD CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

6.     1.2                    The structure of this entity is as follows:
                              1.2.1 LANDINGS CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                              1.2.1.1 LANDINGS CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                              1.2.1.1.1 LANDINGS CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

6.     1.3                    The structure of this entity is as follows:
                              1.3.1 OAKWOOD CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                              1.3.1.1 OAKWOOD CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                              1.3.1.1.1 OAKWOOD CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

6.     1.4                    The structure of this entity is as follows:
                              1.4.1 WALLKILL CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                              1.4.1.1 WALLKILL CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                              1.4.1.1.1 WALLKILL CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 61 of 88

PART   #                     ENDNOTE

6.     1.5                   The structure of this entity is as follows:
                             1.5.1 EAST 9TH MANAGER LLC (Residential Real Estate in New York, NY)
                             1.5.1.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                             1.5.2 KUSHNER VILLAGE 3 SPE LLC (Residential Real Estate in New York, NY)
                             1.5.2.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                             1.5.2.2 KUSHNER VILLAGE 325 EAST 10TH LLC (Residential Real Estate in New York, NY)
                             1.5.3 KUSHNER VILLAGE 4 SPE LLC (Residential Real Estate in New York, NY)
                             1.5.3.1 315 EAST 10TH STREET LLC (Residential Real Estate in New York, NY)
                             1.5.3.2 118-120 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                             1.5.3.3 195 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                             1.5.3.4 199-203 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)

6.     1.6                   The structure of this entity is as follows:
                             1.6.1 NEW PUCK INVESTORS, LLC (Commercial Real Estate in New York, NY)
                             1.6.1.1 NEW PUCK, LLC (Commercial Real Estate in New York, NY)

6.     1.8                   This asset has been divested.

                             The structure of this entity is as follows:
                             1.8.1 BPA CENTER LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                             1.8.1.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                             1.8.1.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

6.     1.9                   This asset has been divested.

6.     2.1                   See item 1.1 for entity structure.

6.     2.2                   See item 1.2 for entity structure.

6.     2.3                   See item 1.3 for entity structure.

6.     2.4                   See item 1.4 for entity structure.

6.     2.5                   See item 1.5 for entity structure.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 62 of 88

PART   #                     ENDNOTE

6.     2.6                   The structure of this entity is as follows:
                             2.6.1 VILLAGE JV SPE LLC (Residential Real Estate in New York, NY)
                             2.6.1.1 120 MACDOUGAL STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.2 267 EAST 10TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.3 435 EAST 9TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.4 156 SULLIVAN STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.5 318 EAST 11TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.6 54 BARROW STREET ASSOCIATES LLC (Residential Real Estate in New York, NY)
                             2.6.1.7 99 EAST 7TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.8 318 EAST 6TH STREET REALTY LLC (Residential Real Estate in New York, NY)

6.     2.7                   The structure of this entity is as follows:
                             2.7.1 VILLAGE JV SPE LLC (Residential Real Estate in New York, NY)
                             2.7.1.1 VILLAGE JV 129 FIRST AVENUE LLC (Residential Real Estate in New York, NY)
                             2.7.1.2 VILLAGE JV 143 FIRST AVENUE LLC (Residential Real Estate in New York, NY)
                             2.7.1.3 VILLAGE JV 165 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.4 VILLAGE JV 191-193 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.5 VILLAGE JV 201 EAST 2ND STREET LLC (Residential Real Estate in New York, NY)
                             2.7.1.6 VILLAGE JV 211 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.7 VILLAGE JV 338 EAST 11TH LLC (Residential Real Estate in New York, NY)
                             2.7.1.8 VILLAGE JV 435 12TH LLC (Residential Real Estate in New York, NY)
                             2.7.1.9 VILLAGE JV 500 EAST 11TH LLC (Residential Real Estate in New York, NY)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 63 of 88

PART   #                      ENDNOTE

6.     2.8                    The structure of this entity is as follows:
                              2.8.1 NORTHERN LIBERTIES JV, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1 NORTHERN LIBERTIES GP, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.1 LIBERTIES WALK ASSOCIATES, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.2 PIAZZA, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.3 PIAZZA PARTNERS I, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.4 1050 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.5 1010 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.6 109 WILDEY PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.7 1011 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.8 1022 ASSOCIATES, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.9 LW TOWNHOME PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.10 GEORGE STREET PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.11 LW PARTNERS III, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.12 1031 GERMANTOWN PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.2 LIBERTIES WALK ASSOCIATES, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.3 PIAZZA, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.4 PIAZZA PARTNERS I, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.5 1050 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.6 1010 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.7 109 WILDEY PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.8 1011 NORTH HANCOCK PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.9 1022 ASSOCIATES, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.10 LW TOWNHOME PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.11 GEORGE STREET PARTNERS, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.12 LW PARTNERS III, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.13 1031 GERMANTOWN PARTNERS, LP (Residential Real Estate in Philadelphia, PA)

6.     2.10                   See item 1.6 for entity structure.

6.     2.11                   The structure of this entity is as follows:

                              2.11.1 BROOKLYN KF NORTH 1 ASSOCIATES, LLC (Residential Real Estate in Brooklyn, NY)
                              2.11.1.1 50 NORTH ONE LLC (Residential Real Estate in Brooklyn, NY)
                              2.11.2 PUCK LEONIA LLC (Residential Real Estate in Leonia, NJ)

6.     2.18                   This asset has been divested.

6.     2.19                   This asset has been divested.

6.     2.20                   This asset has been divested. Income amount is estimated.

6.     2.21                   This asset has been divested. Income amount is estimated.

6.     2.22                   This asset has been divested. Income amount is estimated.

6.     2.23                   This asset has been divested. Income amount is estimated.

6.     2.24                   This asset has been divested. Income amount is estimated.
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 64 of 88

PART   #                      ENDNOTE

6.     2.25                   This asset has been divested. Income amount is estimated.

6.     2.26                   This asset has been divested. Income amount is estimated.

6.     2.27                   This asset has been divested. Income amount is estimated.

6.     2.28                   This asset has been divested. Income amount is estimated.

6.     3.2                    The structure of this entity is as follows:
                              3.2.1 95 BAUER DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.2 19-05 NEVINS ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.3 15-00 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.4 17-01 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.5 19-00 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.6 40 POTASH ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.7 5 THORNTON ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.8 128 BAUER DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)

6.     3.10                   This asset has been divested.

                              The structure of this entity is as follows:
                              3.10.1 NJ MALL ASSOCIATES LLC (Commercial Real Estate in Eatontown, NJ)
                              3.10.1.1 EATONTOWN MONMOUTH MALL HOLDINGS LLC (Commercial Real Estate in Eatontown, NJ)
                              3.10.1.1.1 EATONTOWN MONMOUTH MALL (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.10.1.1.1.1 EATONTOWN MONMOUTH MALL (SENIOR MEZZ) LLC (Commercial Real Estate in
                              Eatontown, NJ)
                              3.10.1.1.1.1.1 EATONTOWN MONMOUTH MALL LLC (Commercial Real Estate in Eatontown, NJ)

6.     3.11                   This asset has been divested.

                              The structure of this entity is as follows:
                              3.11.1 EATONTOWN MONMOUTH MALL HOLDINGS LLC (Commercial Real Estate in Eatontown, NJ)
                              3.11.1.1 EATONTOWN MONMOUTH MALL (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.11.1.1.1 EATONTOWN MONMOUTH MALL (SENIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.11.2 EATONTOWN MONMOUTH MALL LLC (Commercial Real Estate in Eatontown, NJ)

6.     3.12                   This asset has been divested.

                              The structure of this entity is as follows:
                              3.12.1 VM KUSHNER (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown, NJ)
                              3.12.1.1 VM KUSHNER (SENIOR MEZZ) LLC (Commercial Real Estate in Eatontown, NJ)
                              3.12.1.1.1 VM KUSHNER LLC (Commercial Real Estate in Eatontown, NJ)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 65 of 88

PART   #                      ENDNOTE

6.     3.13                   The structure of this entity is as follows:
                              3.13.1 125 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.2 145 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.3 156 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.4 30 LESLIE ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)

6.     3.15                   The structure of this entity is as follows:
                              3.15.1 SKYLINE JV PARTNERSHIP, L.P. (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.1 SKYLINE GP, LLC (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.1.1 SKYLINE PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.2 SKYLINE PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.3 BOULEVARD GP, LLC (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.3.1 BOULEVARD PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.4 BOULEVARD PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)

6.     3.17                   The structure of this entity is as follows:
                              3.17.1 THIRTY VREELAND ASSOCIATES, LLC (Commercial Real Estate in Florham Park, NJ)

6.     3.18                   The structure of this entity is as follows:
                              3.18.1 55 CHALLENGER LLC (Commercial Real Estate in Ridgefield Park, NJ)

6.     3.21                   This asset has been divested.

6.     3.22                   This asset has been divested.

6.     3.23                   This asset has been divested.

6.     3.24                   This asset has been divested. Income amount is estimated.

6.     3.25                   This asset has been divested. Income amount is estimated.

6.     3.26                   This asset has been divested. Income amount is estimated.

6.     3.27                   This asset has been divested.

6.     4.1                    The structure of this entity is as follows:
                              4.1.1 KCLW ACQUISITION MANAGER LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1 KCLW ACQUISITION LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1 RP/K KENT AVENUE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1 MARATHON/JTR WILLIAMSBURG HOLDINGS, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1 184 KENT FEE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1.1 184 KENT FEE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1.1.1 184 KENT OWNER, LLC (Residential Real Estate in Brooklyn, NY)

6.     4.2                    The structure of this entity is as follows:
                              4.2.1 CHATHAM HILL HOLDINGS, LLC (Residential Real Estate in Chatham, NJ)
                              4.2.1.1 CHATHAM PARENT, LLC (Residential Real Estate in Chatham, NJ)
                              4.2.1.1.1 CHATHAM HOLDER, LLC (Residential Real Estate in Chatham, NJ)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 66 of 88

PART   #                      ENDNOTE

6.     4.3                    See item 1.1 for entity structure.

6.     4.4                    See item 1.2 for entity structure.

6.     4.5                    The structure of this entity is as follows:
                              4.5.1 80 WEST END PARTNERS LLC (Residential Real Estate in Long Branch, NJ and Commercial Real
                              Estate in Astoria, NY)
                              4.5.1.1 PIER VILLAGE I URBAN RENEWAL COMPANY LLC (Residential Real Estate in Long Branch, NJ)
                              4.5.1.2 PIER VILLAGE II URBAN RENEWAL COMPANY LLC (Residential Real Estate in Long Branch, NJ)
                              4.5.1.3 KB ASTORIA LLC (Commercial Real Estate in Astoria, NY)

6.     4.6                    The structure of this entity is as follows:
                              4.6.1 KCLW 3RD STREET LLC (Undeveloped Real Estate in Brooklyn, NY)
                              4.6.1.1 175-225 THIRD JV LLC (Undeveloped Real Estate in Brooklyn, NY)
                              4.6.1.1.1 175-225 THIRD OWNER LLC (Undeveloped Real Estate in Brooklyn, NY)

6.     4.7                    The structure of this entity is as follows:
                              4.7.1 HARLEM PORTFOLIO PROPERTIES, LLC (Residential Real Estate in New York, NY)
                              4.7.1.1 HARLEM 151-133 ASSOCIATES, LLC (Residential Real Estate in New York, NY)
                              4.7.1.1.1 VILLAGE KF 12TH ASSOCIATES, LLC (Residential Real Estate in New York, NY)
                              4.7.1.1.1.1 VILLAGE KF 516 EAST 13TH LLC (Residential Real Estate in New York, NY)
                              4.7.1.1.1.2 VILLAGE KF 504 EAST 12TH LLC (Residential Real Estate in New York, NY)

6.     4.8                    The structure of this entity is as follows:
                              4.8.1 K2 26JS MEMBER LLC (Commercial Real Estate in Jersey City, NJ)
                              4.8.1.1 K2W2 26JS HOLDINGS LLC (Commercial Real Estate in Jersey City, NJ)
                              4.8.1.1.1 26 JOURNAL MASTER TENANT LLC (Commercial Real Estate in Jersey City, NJ)
                              4.8.1.1.2 26 JOURNAL SQUARE MEMBER LLC (Commercial Real Estate in Jersey City, NJ)
                              4.8.1.1.2.1 26 JOURNAL SQUARE OWNER LLC (Commercial Real Estate in Jersey City, NJ)

6.     4.9                    The structure of this entity is as follows:
                              4.9.1 30 JOURNAL SQUARE PARTNERS, LLC (Undeveloped Real Estate in Jersey City, NJ)

6.     4.10                   The structure of this entity is as follows:
                              4.10.1 CADRE ASTORIA LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.1 CADRE ASTORIA 23-05 30TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.2 CADRE ASTORIA 23-15 30TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.3 CADRE ASTORIA 21-80 38TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.4 CADRE ASTORIA 21-81 38TH LLC (Residential Real Estate in Astoria, NY)

6.     4.11                   The structure of this entity is as follows:
                              4.11.1 EV JV PARTNERSHIP, L.P. (Residential Real Estate in New York, NY)
                              4.11.1.1 VILLAGE UK VENTURE, LLC (Residential Real Estate in New York, NY)
                              4.11.1.1.1 EV AVENUE A PROPERTY OWNER, LP (Residential Real Estate in New York, NY)
                              4.11.1.1.2 EV 1ST AVENUE PROPERTY OWNER, LP (Residential Real Estate in New York, NY)
                              4.11.1.2 EV AVENUE A PROPERTY OWNER, LP (Residential Real Estate in New York, NY)
                              4.11.1.3 EV 1ST AVENUE PROPERTY OWNER, LP (Residential Real Estate in New York, NY)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 67 of 88

PART   #                      ENDNOTE

6.     4.12                   The structure of this entity is as follows:
                              4.12.1 VILLAGE KF 2 ASSOCIATES LLC (Residential Real Estate in New York, NY)

6.     4.13                   The structure of this entity is as follows:
                              4.13.1 EAST 9TH MANAGER LLC (Residential Real Estate in New York, NY)
                              4.13.1.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                              4.13.2 KUSHNER VILLAGE 3 SPE LLC (Residential Real Estate in New York, NY)
                              4.13.2.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                              4.13.2.2 KUSHNER VILLAGE 325 EAST 10TH LLC (Residential Real Estate in New York, NY)
                              4.13.3 KUSHNER VILLAGE 4 SPE LLC (Residential Real Estate in New York, NY)
                              4.13.3.1 315 EAST 10TH STREET LLC (Residential Real Estate in New York, NY)
                              4.13.3.2 118-120 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                              4.13.3.3 195 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                              4.13.3.4 199-203 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)

6.     4.14                   The structure of this entity is as follows:
                              4.14.1 K MORGAN STREET, LLC (Residential Real Estate in Jersey City, NJ)
                              4.14.1.1 MORGAN STREET DEVELOPERS JOINT VENTURE, LLC (Residential Real Estate in Jersey City, NJ)
                              4.14.1.1.1 MORGAN STREET DEVELOPERS MEZZ ASSOCIATES, LLC (Residential Real Estate in Jersey City,
                              NJ)
                              4.14.1.1.1.1 MORGAN STREET DEVELOPERS URBAN RENEWAL COMPANY, LLC (Residential Real Estate
                              in Jersey City, NJ)

6.     4.15                   This asset has been divested. Capital gains amount is estimated.

                              The structure of this entity is as follows:
                              4.15.1 K2 ONE JOURNAL SQUARE MEMBER LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.1 ONE JOURNAL SQUARE TOWER SOUTH HOLDINGS LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.1.1 ONE JOURNAL SQUARE TOWER SOUTH MEMBER LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.1.1.1 ONE JOURNAL SQUARE TOWER SOUTH URBAN RENEWAL COMPANY LLC (Undeveloped
                              Real Estate in Jersey City, NJ)
                              4.15.1.2 ONE JOURNAL SQUARE PARTNERS HOLDINGS LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.2.1 ONE JOURNAL SQUARE PARTNERS MEMBER LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.2.1.1 ONE JOURNAL SQUARE PARTNERS URBAN RENEWAL COMPANY LLC (Undeveloped Real
                              Estate in Jersey City, NJ)
                              4.15.1.3 ONE JOURNAL SQUARE TOWER NORTH HOLDINGS LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.3.1 ONE JOURNAL SQUARE TOWER NORTH MEMBER LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.3.1.1 ONE JOURNAL SQUARE TOWER NORTH URBAN RENEWAL COMPANY LLC (Undeveloped
                              Real Estate in Jersey City, NJ)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 68 of 88

PART   #                      ENDNOTE

6.     4.16                   The structure of this entity is as follows:
                              4.16.1 KC DUMBO HOLDING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1 RFR/K DUMBO LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.1 WATCHOWER CONSTRUCTION MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.2 WATCHTOWER PROPERTY MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.3 WATCHTOWER LEASING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.4 DUMBO PROMOTE (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5 DUMBO WT VENTURE LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1 DUMBO WT SUB LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.1 117 ADAMS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.2 77 SANDS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.3 55 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.4 81 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.5 175 PEARL OWNER LLC (Commercial Real Estate in Brooklyn, NY)

6.     4.17                   The structure of this entity is as follows:
                              4.17.1 KC DUMBO HOLDING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1 RFR/K DUMBO LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.1 WATCHOWER CONSTRUCTION MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.2 WATCHTOWER PROPERTY MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.3 WATCHTOWER LEASING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.4 DUMBO PROMOTE (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5 DUMBO WT VENTURE LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1 DUMBO WT SUB LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.1 117 ADAMS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.2 77 SANDS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.3 55 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.4 81 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.5 175 PEARL OWNER LLC (Commercial Real Estate in Brooklyn, NY)

6.     4.18                   The structure of this entity is as follows:
                              4.18.1 AK MEMBER LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1 MIDDLE RIVER JV LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.1 CARROLL PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.2 MORNINGSIDE PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.3 ESSEX PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 69 of 88

PART   #                      ENDNOTE

6.     4.19                   The structure of this entity is as follows:
                              4.19.1 K/S WESTWOOD PARTNER, L.P. (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1 WESTWOOD INVESTORS JV, L.P. (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.1 STANFORD GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.1.1 WESTWOOD CENTER STANFORD PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.2 WESTWOOD CENTER STANFORD PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.3 RC VILLAGE GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.3.1 RIVERVALE COLLIGON VILLAGE PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.4 RIVERVALE COLLIGON VILLAGE PROPERTY OWNER, L.P. (Residential Real Estate in Westwood
                              & River Vale, NJ)
                              4.19.1.1.5 COVENTRY GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.5.1 WESTWOOD CHARLES CONVENTRY PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.6 WESTWOOD CHARLES CONVENTRY PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.7 MADISON GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.7.1 WESTWOOD MADISON PROPERTY OWNER, L.P. (Residential Real Estate in Westwood &
                              River Vale, NJ)
                              4.19.1.1.8 WESTWOOD MADISON PROPERTY OWNER, L.P. (Residential Real Estate in Westwood & River
                              Vale, NJ)

6.     4.20                   The structure of this entity is as follows:
                              4.20.1 K-BLS PORTFOLIO LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1 BLS ASSOCIATES LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1 BLS PORTFOLIO LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.1 27 MONROE PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.2 38 MONROE PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.3 100 PIERREPONT STREET LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2 BLS PORTFOLIO 2 LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.1 18 SYDNEY PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.2 89 HICKS STREET LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.3 144 WILLOW STREET LLC (Residential Real Estate in Brooklyn, NY)

6.     4.21                   See item 1.6 for entity structure.

6.     4.22                   See item 3.13 for entity structure.

6.     4.23                   The structure of this entity is as follows:
                              4.23.1 ST LEONIA, LLC (Residential Real Estate in Leonia, NJ)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 70 of 88

PART   #                      ENDNOTE

6.     4.24                   The structure of this entity is as follows:
                              4.24.1 ELMWOOD NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1 ELMWOOD NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1.1 ELMWOOD NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1.1.1 ELMWOOD NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.2 OAKWOOD NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1 OAKWOOD NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1.1 OAKWOOD NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1.1.1 OAKWOOD NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.3 WALLKILL NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1 WALLKILL NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1.1 WALLKILL NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1.1.1 WALLKILL NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.4 LANDINGS NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1 LANDINGS NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1.1 LANDINGS NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1.1.1 LANDINGS NYT OWNER, LLC (Commercial Real Estate in New York, NY)

6.     4.25                   The structure of this entity is as follows:
                              4.25.1 WARREN AT BAY HOLDINGS LLC (Commercial Real Estate in Jersey City, NJ)
                              4.25.1.1 WARREN AT BAY, LLC (Commercial Real Estate in Jersey City, NJ)

6.     4.26                   The structure of this entity is as follows:
                              4.26.1 KRL COLUMBIA HEIGHTS BROOKLYN LLC (Real Estate Under Construction in Brooklyn, NY)
                              4.26.1.1 25-30 COLUMBIA HEIGHTS (BROOKLYN) VENTURE, LLC (Real Estate Under Construction in
                              Brooklyn, NY)
                              4.26.1.1.1 25-30 COLUMBIA HEIGHTS (Brooklyn), LLC (Real Estate Under Construction in Brooklyn, NY)

6.     4.28                   The structure of this entity is as follows:
                              4.28.1 80 MAID LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1 NK 80 MAIDEN HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1.1 NK 80 MAIDEN MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1.1.1 NK 80 MAIDEN OWNER, LLC (Commercial Real Estate in New York, NY)

6.     4.30                   The structure of this entity is as follows:
                              4.30.1 BLOCK 110 RESIDENTIAL LLC (Residential Real Estate in Kansas City, MO)
                              4.30.2 BLOCK 140 RESIDENTIAL LLC (Residential Real Estate in Kansas City, MO)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 71 of 88

PART   #                      ENDNOTE

6.     4.31                   The structure of this entity is as follows:
                              4.31.1 STONE PORTFOLIO JV LLC (Residential Real Estate in New York, NY)
                              4.31.1.1 STONE PORTFOLIO LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.1 KC3 - 101 MACDOUGAL STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.2 KC3 - 104 EAST 7TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.3 KC3 - 233 EAST 82ND STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.4 KC3 - 234-238 EAST 33RD STREET LLC(Residential Real Estate in New York, NY)
                              4.31.1.1.5 KC3 - 310 EAST 83RD STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.6 KC3 - 319-321 EAST 78TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.7 KC3 - 325 EAST 83RD STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.8 KC3 - 410 EAST 64TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.9 KC3 - 438-440 EAST 13TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.10 KC3 - 504 EAST 88TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.11 KC3 - 354-356 STATE STREET LLC (Residential Real Estate in New York, NY)

6.     4.32                   The structure of this entity is as follows:
                              4.32.1 PIER VILLAGE III JV LLC (Undeveloped Real Estate in Long Branch, NJ)
                              4.32.1.1 PIER VILLAGE III URBAN RENEWAL COMPANY, LLC (Undeveloped Real Estate in Long Branch,
                              NJ)

6.     4.33                   The structure of this entity is as follows:
                              4.33.1 340 FLATBUSH LENDER LLC (Loan Receivable from 9 Dekalb Owner LLC, Brooklyn NY)

6.     4.36                   This asset has been divested.

6.     4.37                   This asset has been divested.

                              The structure of this entity is as follows:
                              4.37.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                              4.37.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                              4.37.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                              4.37.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                              4.37.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                              4.37.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                              4.37.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

6.     4.38                   This asset has been divested.

                              See item 1.8 for entity structure.

6.     4.39                   This asset has been divested.

                              This entity has an interest in Bruckner Plaza Center, LLC. See item 1.8 for entity structure.

6.     4.40                   This asset has been divested.

                              This entity has an interest in Bruckner Plaza Center, LLC. See item 1.8 for entity structure.
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 72 of 88

PART   #                      ENDNOTE

6.     4.42                   The structure of this entity is as follows:
                              4.42.1 29 Second Avenue Realty LLC (residential real estate in New York, NY)

6.     8                      The structure of this entity is as follows:
                              8.1 55 CHALLENGER LLC (Commercial Real Estate in Ridgefield Park, NJ)

6.     10                     See item 4.2 for entity structure.

6.     11                     See item 4.5 for entity structure.
            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 73 of 88

PART   #                    ENDNOTE

6.     13                   The structure of this entity is as follows:
                            13.1 KUSHNER MARYLAND PARTNERS, LLC (Residential Real Estate in Baltimore and Prince George's
                            County, MD)
                            13.1.1 KUSHNER MARYLAND INVESTMENT FUND LLC (Residential Real Estate in Baltimore and Prince
                            George's County, MD)
                            13.1.1.1 MARYLAND APARTMENT HOLDINGS 10-PACK INVESTOR, LLC (Residential Real Estate in
                            Baltimore and Prince George's County, MD)
                            13.1.1.1.1 MARYLAND APARTMENT HOLDINGS 10-PACK JV, LLC (Residential Real Estate in Baltimore
                            and Prince George's County, MD)
                            13.1.1.1.1.1 MARYLAND APARTMENT HOLDINGS PE 10-PACK JV, LLC (Residential Real Estate in
                            Baltimore and Prince George's County, MD)
                            13.1.1.1.1.1.1 RP COVE VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.1.1 RP COVE APARTMENTS, LLC(Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2 SRH/LA BALTIMORE PROPERTIES LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1 SRH/LA BALTIMORE MEZZANINE, LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.1 WHITEMARSH I, II, IV MANAGER, INC. (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.1.1 COMMONS AT WHITEMARSH I, II, V, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.1.1.1 SRH/LA WHITEMARSH I, II, V APARTMENTS, LLC (Residential Real Estate in
                            Baltimore County, MD)
                            13.1.1.1.1.1.2.1.2 COMMONS AT WHITEMARSH I, II, V, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.2.1 SRH/LA WHITEMARSH I, II, V APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.3 WHITEMARSH III MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.3.1 COMMONS AT WHITEMARSH III, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.3.1.1 SRH/LA WHITEMARSH III APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.4 COMMONS AT WHITEMARSH III, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.4.1 SRH/LA WHITEMARSH III APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.5 WHITEMARSH IVA MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.5.1 COMMONS AT WHITEMARSH IVA, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.5.1.1 SRH/LA WHITEMARSH IVA APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.6 COMMONS AT WHITEMARSH IVA, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.6.1 SRH/LA WHITEMARSH IVA APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.7 WHITEMARSH IVB MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.7.1 COMMONS AT WHITEMARSH IVB, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.7.1.1 SRH/LA WHITEMARSH IVB APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.8 COMMONS AT WHITEMARSH IVB, LLC (Residential Real Estate in Baltimore County,
           Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 74 of 88

PART   #                   ENDNOTE

                           MD)
                           13.1.1.1.1.1.2.1.8.1 SRH/LA WHITEMARSH IVB APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.2.1.9 HARBOR POINT I, II, IV MANAGER, INC. (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.9.1 HARBOR POINT ESTATES I, II, IV, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.9.1.1 SRH/LA HARBOR POINT I, II, IV APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.2.1.10 HARBOR POINT ESTATES I, II, IV, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.10.1 SRH/LA HARBOR POINT I, II, IV APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3 SRH/LA CHESAPEAKE APARTMENTS LLC (Residential Real Estate in Baltimore Baltimore
                           and Prince George's County, MD)
                           13.1.1.1.1.1.3.1 SRH/LA CHESAPEAKE MEZZANINE, LLC (Residential Real Estate in Baltimore and Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.1 DUTCH VILLAGE MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.1.1 DUTCH VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.1.1.1 SRH/LA DUTCH VILLAGE APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.2 DUTCH VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.2.1 SRH/LA DUTCH VILLAGE APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.3 FONTANA MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.3.1 FONTANA, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.3.1.1 SRH/LA FONTANA APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.4 FONTANA, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.4.1 SRH/LA FONTANA APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.5 HAMILTON MANOR MANAGER, INC. (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.5.1 HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.5.1.1 SRH/LA HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.6 HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.6.1 SRH/LA HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.7 HIGHLAND #179 MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.7.1 HIGHLAND #179, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.7.1.1 SRH/LA HIGHLAND #179 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.8 HIGHLAND #179, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.8.1 SRH/LA HIGHLAND #179 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.9 HIGHLAND #241 GP, INC. (Residential Real Estate in Baltimore County, MD)
           Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 75 of 88

PART   #                   ENDNOTE

                           13.1.1.1.1.1.3.1.9.1 HIGHLAND #241, LLLP (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.9.1.1 SRH/LA HIGHLAND #241 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.10 HIGHLAND #241, LLLP (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.10.1 SRH/LA HIGHLAND #241 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.11 HIGHLAND #689 MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.11.1 HIGHLAND #689, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.11.1.1 SRH/LA HIGHLAND #689 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.12 HIGHLAND #689, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.12.1 SRH/LA HIGHLAND #689 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.13 PLEASANTVIEW MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.13.1 PLEASANTVIEW, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.13.1.1 PLEASANTVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.14 PLEASANTVIEW, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.14.1 PLEASANTVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.15 RIVERVIEW MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.15.1 RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.15.1.1 SRH/LA RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.16 RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.16.1 SRH/LA RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.17 WHISPERING WOODS #250 MANAGER, INC. (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.17.1 WHISPERING WOODS #250, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.17.1.1 SRH/LA WHISPERING WOODS #250 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.18 WHISPERING WOODS #250, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.18.1 SRH/LA WHISPERING WOODS #250 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.19 WHISPERING WOODS #299 GP, INC. (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.19.1 WHISPERING WOODS #299 LIMITED PARTNERSHIP (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.19.1.1 WHISPERING WOODS #299 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.20 WHISPERING WOODS #299 LIMITED PARTNERSHIP (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.20.1 WHISPERING WOODS #299 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 76 of 88

PART   #                    ENDNOTE

6.     14                   The structure of this entity is as follows:
                            14.1 MIDWEST PARTNERS 1 LLC (Residential Real Estate in Toledo, Middletown, Akron & Bedford
                            Heights, OH, Pittsburgh, PA, and Speedway, IN)
                            14.1.1 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron,
                            OH, Middletown, OH & Pittsburgh, PA)
                            14.1.1.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford,
                            OH, Akron, OH, Middletown, OH & Pittsburgh, PA)
                            14.1.1.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                            14.1.1.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                            14.1.1.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.15 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.15.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN))
                            14.2 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron, OH,
                            Middletown, OH & Pittsburgh, PA)
                            14.2.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford, OH,
                            Akron, OH, Middletown, OH & Pittsburgh, PA)
                            14.2.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                            14.2.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                            14.2.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.15 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
              Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 77 of 88

PART   #                      ENDNOTE

                              14.2.2.15.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                              14.2.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN)
                              14.3 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron, OH,
                              Middletown, OH & Pittsburgh, PA)
                              14.3.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford, OH,
                              Akron, OH, Middletown, OH & Pittsburgh, PA)
                              14.3.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                              14.3.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                              14.3.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                              14.3.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                              14.3.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                              14.3.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                              14.3.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                              14.3.2.13.1 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                              14.3.2.13.1.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                              14.3.2.13.1.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                              14.3.2.14 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
                              14.3.2.14.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                              14.3.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN)

                              As of July 18, 2017, the interest in Toledo Properties Owner LLC has been divested.

6.     15                     The structure of this entity is as follows:
                              15.1 PUCK BUILDING, LP (Commercial Real Estate in New York, NY)
                              15.1.1 NEW PUCK INVESTORS, LLC (Commercial Real Estate in New York, NY)
                              15.1.1.1 NEW PUCK, LLC (Commercial Real Estate in New York, NY)

6.     16                     See item 4.24 for entity structure.

6.     18                     This asset has a loan receivable from KCOF - 215 Moore LLC.

6.     19                     The conflicting assets of this interest have been divested.

6.     19.4                   This asset has been divested.

6.     19.5                   The structure of this entity is as follows:
                              159.1 2 Rector Street (NY) JV, LLC (Commercial Real Estate in New York, NY)
                              159.1.1 2 Rector Street (NY), LLC (Commercial Real Estate in New York, NY)

6.     19.6                   This asset has been divested.

6.     19.7                   This asset has been divested.
               Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 78 of 88

PART   #                       ENDNOTE

6.     19.8                    This asset has been divested.

6.     19.10                   This entity holds contingent rights to ownership interests in the following entities if specified revenue
                               targets are met:
                               KC Dumbo Office LLC (Commercial Real Estate in Brooklyn, NY)
                               80 ML LLC (Commercial Real Estate in New York, NY)
                               25-30 Columbia Heights (Brooklyn) Venture LLC (Real Estate Under Construction in Brooklyn, NY)
                               Warren At Bay Associates LLC (Commercial Real Estate in Jersey City, NJ)
                               K/S Westwood Partner LP (Residential Real Estate in Westwood and River Vale, NJ)
                               Middle River JV LLC (Residential Real Estate in Middle River, MD)
                               Chatham Hill Holdings LLC (Residential Real Estate in Chatham, NJ)
                               Puck Residential Associates, LLC (Residential Condominiums in New York, NY)
                               K GAIA Village 2 Associates LLC (Residential Real Estate in New York, NY)
                               EV JV GP, LLC (Residential Real Estate in New York, NY)
                               Northern Liberties JV, LLC (Residential Real Estate in Philadelphia, PA)
                               50 North One, LLC (Residential Real Estate in Brooklyn, NY)
                               Village KF 2 Associates, LLC (Residential Real Estate in New York, NY)
                               BLS Portfolio, LLC (Residential Real Estate in Brooklyn, NY)
                               Stone Portfolio, LLC (Residential Real Estate in New York, NY)
                               K Morgan Street, LLC (Residential Real Estate in Jersey City, NJ)
                               K 26 Journal Square, LLC (Commercial Real Estate in Jersey City, NJ)
                               Kushner Journal Square LLC (Commercial Real Estate in Jersey City, NJ)
                               175-225 Third JV, LLC (Undeveloped Real Estate in Brooklyn, NY)
                               184 Kent Owner, LLC (Residential Real Estate in Brooklyn, NY)
                               Pier Village III Urban Renewal Company, LLC (Undeveloped Real Estate in Long Branch, NJ)
                               KC 215 Moore, LLC (Loan Receivable from Heritage Equities; Brooklyn, NY)
                               55 Challenger Road Associates LLC (Commercial Real Estate in Ridgefield Park, NJ)
                               Kushner Skyline Promote LLC (Contingent Right to Ownership Interest in Skyline Kushner, LLC
                               (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                               K GAIA Village 1 Associates LLC (Residential Real Estate in New York, NY)
                               K Maryland Associates LLC (Residential Real Estate in Baltimore and Prince George's County, MD)

6.     20                      This asset is in the divestment process.

6.     21                      This asset has been divested.

6.     22                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.

6.     23                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.

6.     24                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.

6.     25                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.
            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 79 of 88

PART   #                    ENDNOTE

6.     26                   Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                            divested.

6.     34                   This asset has been divested.

6.     35                   This asset has been divested.

6.     54                   This asset is in the divestment process. Filer and her family lack control over, and knowledge of, the
                            underlying assets held by the portfolio funds that the fund has invested in.

6.     55                   This promissory note arose from a divestment. Promissory note will be repaid by the first quarter of
                            2018. Value of payment fixed as of divestment. Filer and her family lack control over, and knowledge
                            of, the underlying assets held by the portfolio funds that the fund has invested in.

6.     56                   This asset has been divested.

6.     61                   This asset has been divested.

6.     66                   This asset has been divested.

6.     70                   This asset has been divested.

6.     80                   See item 13 for entity structure

6.     81                   See item 14 for entity structure

6.     82                   See item 4.33 for entity structure.

6.     83                   As of July 18, 2017, this asset has been divested. Redemption value fixed as on Jan. 1, 2017. Filer and
                            her family lack control over, and knowledge of, the underlying assets held by the fund at the position
                            level. 2016 and 2017 income estimated based on 2015 K-1 statement.

6.     84                   This asset has been divested.

6.     85                   This asset has been divested.

6.     86                   This asset has been divested.

6.     87                   This line item represents holdings in both the Nuveen Municipal Opportunity Fund (NIO) and the
                            Nuveen Enhanced AMT-Free Municipal Credit Opportunities Fund (NVG). NIO was merged into NVG in
                            April of 2016.

6.     88                   This asset has been divested.

6.     89                   This asset has been divested.

6.     90                   This asset has been divested.

6.     91                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 80 of 88

PART   #                     ENDNOTE

6.     92                    This asset has been divested.

6.     94                    This asset has been divested.

6.     95                    This asset has been divested.

6.     96                    This asset has been divested.

6.     98                    This asset has been divested.

6.     99                    This asset has been divested.

6.     102                   This asset has been divested.

6.     103                   This asset has been divested.

6.     104                   This asset has been divested.

6.     105                   This asset has been divested.

6.     106                   This asset has been divested.

6.     107                   This asset has been divested.

6.     110                   This asset has been divested.

6.     111                   This asset has been divested.

6.     114                   This asset has been divested.

6.     115                   This asset has been divested.

6.     116                   This asset has been divested.

6.     118                   This asset has been divested.

6.     119                   This asset has been divested.

6.     121                   This asset has been divested.

6.     122                   This asset has been divested.

6.     125                   See item 4.28 for entity structure.

6.     126                   See item 4.18 for entity structure

6.     127                   See item 4.19 for entity structure

6.     128                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 81 of 88

PART   #                     ENDNOTE

6.     129                   This asset has been divested.

                             The structure of this entity is as follows:
                             129.1 BRUCKNER PLAZA CENTER, LLC (Commercial Real Estate in New York, NY)
                             129.1.1 BPA CENTER LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                             129.1.1.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                             129.1.1.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

6.     130                   This asset has been divested.

6.     131                   This asset has been divested.

6.     152                   This asset has been divested.

6.     155                   Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                             divested.

6.     156                   This asset has been divested. 2016 and 2017 income estimated based on 2015 K-1 statement.

6.     157                   This asset has been divested.

                             The structure of this entity is as follows:
                             157.1 666 Fifth Management LLC (Management Company; New York, NY)

6.     158                   This asset has been divested.

6.     159                   The structure of this entity is as follows:
                             159.1 2 Rector Street (NY) JV, LLC (Commercial Real Estate in New York, NY)
                             159.1.1 2 Rector Street (NY), LLC (Commercial Real Estate in New York, NY)

6.     161                   This asset is in the divestment process.

                             The structure of this entity is as follows:
                             161.1 JCS MONMOUTH MALL-NJ (restaurant at Monmouth Mall, NJ)

6.     162                   This asset has been divested.

6.     163                   This asset has been divested.

6.     164                   This asset has been divested.

6.     165                   This asset has been divested.

6.     166                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 82 of 88

PART   #                     ENDNOTE

6.     167                   This asset has been divested.

6.     168                   This asset has been divested.

6.     169                   This asset has been divested.

6.     170                   This asset has been divested.

6.     171                   This asset has been divested.

6.     172                   This asset has been divested.

6.     173                   This asset has been divested.

6.     174                   This asset has been divested.

6.     175                   This asset has been divested.

6.     176                   This asset has been divested.

6.     177                   This asset has been divested.

6.     178                   This asset has been divested.

6.     179                   This asset has been divested.

6.     180                   This asset has been divested.

6.     181                   This asset has been divested.

6.     182                   This asset has been divested.

6.     183                   This asset has been divested.

6.     184                   This asset has been divested.

6.     185                   This asset has been divested.

6.     186                   This asset has been divested.

6.     187                   This asset has been divested.

6.     188                   This asset has been divested.

6.     189                   This asset has been divested.

6.     190                   This asset has been divested.

6.     191                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 83 of 88

PART   #                     ENDNOTE

6.     192                   This asset has been divested.

6.     193                   This asset has been divested.

6.     194                   This asset has been divested.

6.     195                   This asset has been divested.

6.     196                   This asset has been divested.

6.     197                   This asset has been divested.

6.     198                   This asset has been divested.

6.     199                   This asset has been divested.

6.     200                   This asset has been divested.

6.     201                   This asset has been divested.

6.     202                   This asset has been divested.

6.     203                   This asset has been divested.

6.     204                   This asset has been divested.

6.     205                   This asset has been divested.

6.     206                   This asset has been divested.

6.     207                   This asset has been divested.

6.     208                   This asset has been divested.

6.     209                   This asset has been divested.

6.     210                   This asset has been divested.

6.     211                   This asset has been divested.

6.     212                   This asset has been divested.

6.     213                   This asset has been divested.

6.     214                   This asset has been divested.

6.     215                   This asset has been divested.

6.     216                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 84 of 88

PART   #                     ENDNOTE

6.     217                   This asset has been divested.

6.     218                   This asset has been divested.

6.     219                   This asset has been divested.

6.     220                   This asset has been divested.

6.     221                   This asset has been divested.

8.     2                     Filer's spouse holds this line of credit jointly with his mother.

8.     3                     Filer's spouse holds this line of credit jointly with his father.

8.     4                     Filer's spouse holds this line of credit jointly with his father.

8.     5                     Filer's spouse holds this line of credit jointly with his father.

8.     6                     Filer's spouse holds this line of credit jointly with his mother.

8.     7                     Filer's spouse holds this line of credit jointly with his father.

8.     11                    Filer's spouse holds this note jointly with his father.
                                            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 85 of 88

Summary of Contents

1. Filer's Positions Held Outside United States Government

Part 1 discloses positions that the filer held at any time during the reporting period (excluding positions with the United States Government). Positions are reportable
even if the filer did not receive compensation.

This section does not include the following: (1) positions with religious, social, fraternal, or political organizations; (2) positions solely of an honorary nature; (3) positions
held as part of the filer's official duties with the United States Government; (4) mere membership in an organization; and (5) passive investment interests as a limited
partner or non-managing member of a limited liability company.


2. Filer's Employment Assets & Income and Retirement Accounts

Part 2 discloses the following:

●   Sources of earned and other non-investment income of the filer totaling more than $200 during the reporting period (e.g., salary, fees, partnership share,
    honoraria, scholarships, and prizes)
●   Assets related to the filer's business, employment, or other income-generating activities that (1) ended the reporting period with a value greater than $1,000 or (2)
    produced more than $200 in income during the reporting period (e.g., equity in business or partnership, stock options, retirement plans/accounts and their
    underlying holdings as appropriate, deferred compensation, and intellectual property, such as book deals and patents)

This section does not include assets or income from United States Government employment or assets that were acquired separately from the filer's business,
employment, or other income-generating activities (e.g., assets purchased through a brokerage account). Note: The type of income is not required if the amount of
income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF).


3. Filer's Employment Agreements and Arrangements

Part 3 discloses agreements or arrangements that the filer had during the reporting period with an employer or former employer (except the United States
Government), such as the following:

●   Future employment
●   Leave of absence
●   Continuing payments from an employer, including severance and payments not yet received for previous work (excluding ordinary salary from a current employer)
●   Continuing participation in an employee welfare, retirement, or other benefit plan, such as pensions or a deferred compensation plan
●   Retention or disposition of employer-awarded equity, sharing in profits or carried interests (e.g., vested and unvested stock options, restricted stock, future share of
    a company's profits, etc.)


4. Filer's Sources of Compensation Exceeding $5,000 in a Year

Part 4 discloses sources (except the United States Government) that paid more than $5,000 in a calendar year for the filer's services during any year of the reporting
period.
                                            Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 86 of 88
The filer discloses payments both from employers and from any clients to whom the filer personally provided services. The filer discloses a source even if the source
made its payment to the filer's employer and not to the filer. The filer does not disclose a client's payment to the filer's employer if the filer did not provide the services
for which the client is paying.


5. Spouse's Employment Assets & Income and Retirement Accounts

Part 5 discloses the following:

●   Sources of earned income (excluding honoraria) for the filer's spouse totaling more than $1,000 during the reporting period (e.g., salary, consulting fees, and
    partnership share)
●   Sources of honoraria for the filer's spouse greater than $200 during the reporting period
●   Assets related to the filer's spouse's employment, business activities, other income-generating activities that (1) ended the reporting period with a value greater
    than $1,000 or (2) produced more than $200 in income during the reporting period (e.g., equity in business or partnership, stock options, retirement plans/accounts
    and their underlying holdings as appropriate, deferred compensation, and intellectual property, such as book deals and patents)

This section does not include assets or income from United States Government employment or assets that were acquired separately from the filer's spouse's business,
employment, or other income-generating activities (e.g., assets purchased through a brokerage account). Note: The type of income is not required if the amount of
income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF). Amounts of income are not required for a spouse's earned income (excluding
honoraria).


6. Other Assets and Income

Part 6 discloses each asset, not already reported, that (1) ended the reporting period with a value greater than $1,000 or (2) produced more than $200 in investment
income during the reporting period. For purposes of the value and income thresholds, the filer aggregates the filer's interests with those of the filer's spouse and
dependent children.

This section does not include the following types of assets: (1) a personal residence (unless it was rented out during the reporting period); (2) income or retirement
benefits associated with United States Government employment (e.g., Thrift Savings Plan); and (3) cash accounts (e.g., checking, savings, money market accounts) at a
single financial institution with a value of $5,000 or less (unless more than $200 of income was produced). Additional exceptions apply. Note: The type of income is not
required if the amount of income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF).


7. Transactions

Part 7 discloses purchases, sales, or exchanges of real property or securities in excess of $1,000 made on behalf of the filer, the filer's spouse or dependent child during
reporting period.

This section does not include transactions that concern the following: (1) a personal residence, unless rented out; (2) cash accounts (e.g., checking, savings, CDs, money
market accounts) and money market mutual funds; (3) Treasury bills, bonds, and notes; and (4) holdings within a federal Thrift Savings Plan account. Additional
exceptions apply.
                                           Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 87 of 88

8. Liabilities

Part 8 discloses liabilities over $10,000 that the filer, the filer's spouse or dependent child owed at any time during the reporting period.

This section does not include the following types of liabilities: (1) mortgages on a personal residence, unless rented out (limitations apply for PAS filers); (2) loans
secured by a personal motor vehicle, household furniture, or appliances, unless the loan exceeds the item's purchase price; and (3) revolving charge accounts, such as
credit card balances, if the outstanding liability did not exceed $10,000 at the end of the reporting period. Additional exceptions apply.


9. Gifts and Travel Reimbursements

This section discloses:

●   Gifts totaling more than $375 that the filer, the filer's spouse, and dependent children received from any one source during the reporting period.
●   Travel reimbursements totaling more than $375 that the filer, the filer's spouse, and dependent children received from any one source during the reporting period.

For purposes of this section, the filer need not aggregate any gift or travel reimbursement with a value of $150 or less. Regardless of the value, this section does not
include the following items: (1) anything received from relatives; (2) anything received from the United States Government or from the District of Columbia, state, or
local governments; (3) bequests and other forms of inheritance; (4) gifts and travel reimbursements given to the filer's agency in connection with the filer's official travel;
(5) gifts of hospitality (food, lodging, entertainment) at the donor's residence or personal premises; and (6) anything received by the filer's spouse or dependent children
totally independent of their relationship to the filer. Additional exceptions apply.
                                           Case 1:17-cv-02693-CKK Document 1-3 Filed 12/17/17 Page 88 of 88

Privacy Act Statement

Title I of the Ethics in Government Act of 1978, as amended (the Act), 5 U.S.C. app. § 101 et seq., as amended by the Stop Trading on Congressional Knowledge Act of
2012 (Pub. L. 112-105) (STOCK Act), and 5 C.F.R. Part 2634 of the U. S. Office of Government Ethics regulations require the reporting of this information. The primary use
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agency, court or party in a court or Federal administrative proceeding when the Government is a party or in order to comply with a judge-issued subpoena; (4) to a
source when necessary to obtain information relevant to a conflict of interest investigation or determination; (5) to the National Archives and Records Administration or
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legislation; (7) to the Department of Justice or in certain legal proceedings when the disclosing agency, an employee of the disclosing agency, or the United States is a
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